Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 1 of 134




              EXHIBIT 2
         Case 4:20-cv-03919-CW          Document 535-2   Filed 09/26/24   Page 2 of 134



 1
                                UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        (OAKLAND DIVISION)
 4

 5

 6   In re: College Athlete NIL Litigation          No. 4:20-CV-03919 (N.D. Cal)
 7

 8

 9

10

11

12               AMENDED STIPULATION AND SETTLEMENT AGREEMENT

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                                                  1
                         AMENDED STIPULATION AND SETTLEMENT AGREEMENT
                                       Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24      Page 3 of 134


 1
            This Stipulation and Settlement Agreement, inclusive of all exhibits and appendices
 2
     (hereinafter, “Agreement,” “Settlement Agreement” or “SSA”), is made and entered into as of
 3
     JulySeptember 26, 2024, by and between Plaintiffs, both individually and on behalf of the
 4
     Classes in the above-captioned class action, and Defendants National Collegiate Athletic
 5
     Association (“NCAA”), Atlantic Coast Conference (“ACC”), The Big Ten Conference, Inc.
 6
     (“Big Ten”), The Big 12 Conference, Inc. (“Big 12”), Pac-12 Conference (“Pac-12”) and
 7
     Southeastern Conference (“SEC”) (collectively, the “Defendants”). This Settlement Agreement
 8
     is intended by the Parties to fully, finally and forever resolve, discharge and settle the Released
 9
     Claims, upon and subject to the terms and conditions hereof.
10
                                               RECITALS
11
            WHEREAS, Plaintiffs are prosecuting the Action on their own behalf and on behalf of
12
     the Classes against Defendants;
13
            WHEREAS, Plaintiffs have alleged, among other things, that Defendants have engaged
14
     in anticompetitive conduct in violation of the U.S. antitrust laws in connection with certain
15
     NCAA and conference rules and practices regarding (a) compensation and benefits which may
16
     be provided to student-athletes during the relevant class periods and (b) NCAA roster and
17
     scholarship limits;
18
            WHEREAS, the Defendants have denied and continue to deny each and all of the claims
19
     and allegations of wrongdoing made by the Plaintiffs in the Action; all charges of wrongdoing
20
     or liability against them arising out of or relating to any of the conduct, statements, acts or
21
     omissions alleged, or that could have been alleged, in the Action; the allegations that the
22
     Plaintiffs or any member of the Classes were harmed by any conduct by the Defendants alleged
23
     in the Action or otherwise; and deny any liability whatsoever;
24
            WHEREAS, Plaintiffs and Defendants agree that neither this SSA nor any statement
25
     made in the negotiation thereof shall be deemed or construed to be an admission or evidence of
26
     any violation of any statute or law or of any liability or wrongdoing by the Defendants or of the
27
     truth of any of the claims or allegations alleged in the Action;
28

                                                   2
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW            Document 535-2          Filed 09/26/24      Page 4 of 134


 1
            WHEREAS, arm’s-length settlement negotiations have taken place between Defendants
 2
     and Class Counsel—under the supervision of a highly experienced third-party mediator, Eric
 3
     Green—and this SSA embodies all of the terms and conditions of the good-faith settlement
 4
     between the Parties, and has been reached as a result of the Parties’ negotiations and mediations,
 5
     subject to approval of the Court;
 6
            WHEREAS, Class Counsel have concluded, after extensive discovery and due
 7
     investigation and after carefully considering the relevant circumstances, including, without
 8
     limitation, the claims asserted in the Action, the legal and factual defenses thereto and the
 9
     applicable law, that it is in the best interests of the Plaintiffs and the Classes to enter into this
10
     SSA to avoid the uncertainties of litigation and to ensure that the benefits reflected herein are
11
     obtained for the Plaintiffs and the Classes, and, further, that Class Counsel consider the
12
     settlement set forth herein to be fair, reasonable, and adequate and in the best interests of the
13
     Plaintiffs and the Classes; and
14
            WHEREAS, Defendants, despite their asserted defenses and continued denial of
15
     Plaintiffs’ allegations and of all liability claimed therein, have nevertheless agreed to enter into
16
     this SSA to avoid the further expense, risk, and inconvenience and distraction of burdensome
17
     and protracted litigation, to obtain the releases, orders, and judgment contemplated by this SSA,
18
     and thereby to put to rest with finality all claims that have been or could have been asserted
19
     against Defendants’ rules regarding monies and benefits that may be provided to student-
20
     athletes, scholarship limits, and roster limits based on the allegations in Plaintiffs’ amended
21
     complaint.
22
                                              AGREEMENT
23

24          NOW, THEREFORE, in consideration of the agreements herein set forth, it is hereby

25   stipulated and agreed by and among the Parties, by and through their attorneys of record, that

26   the claims of the Plaintiffs and the Classes be finally and fully settled, compromised, and

27   dismissed on the merits and with prejudice as to Defendants and all other Releasees and, except

28   as hereafter provided, without costs against the Plaintiffs, the Classes, or Defendants, subject to

                                                    3
                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW             Document 535-2      Filed 09/26/24      Page 5 of 134


 1
     the approval of the Court, on the following terms and conditions:
 2
           A.     Definitions
 3
            1.    As used in this SSA and its exhibits and appendices, the following terms have the
 4
     meanings specified below:
 5
                  (a)     “Academic Year” means July 1 of any given calendar year during the
 6
                          Term through and including June 30 of the following calendar year.
 7
                  (b)     “Action” means the litigation captioned In re: College Athlete NIL
 8
                          Litigation, Case No. 4:20-CV-03919 (N.D. Cal).
 9
                  (c)     “Additional Compensation Claims Settlement Amount” means the total
10
                          sum of six hundred million US dollars ($600,000,000.00).
11
                  (d)     “Additional Counsel” means Jeffrey Kodroff of Spector, Roseman &
12
                          Kodroff, P.C.
13
                  (e)     “Authorized Recipient” means any member of any or all of the Damages
14
                          Settlement Classes who, in accordance with the terms of this Agreement,
15
                          is entitled to a distribution consistent with any Distribution Plan or order
16
                          of the Court.
17
                  (f)     “Booster” means “representative of athletics interests,” as defined in
18
                          NCAA Bylaws 8.4.2, 13.02.16, and 13.02.16.1.
19
                  (g)     “Classes” means collectively the Damages Settlement Classes and the
20
                          Injunctive Relief Settlement Class. All of the Classes exclude the officers,
21
                          directors, and employees of Defendants. All of the Classes also exclude
22
                          all judicial officers presiding over the Action and their immediate family
23
                          members and staff.
24
                  (h)     “Class Counsel” means the law firms of Winston & Strawn LLP and
25
                          Hagens Berman Sobol Shapiro LLP, with lead Class Counsel Jeffrey
26
                          Kessler and Steve Berman.
27
                  (i)     “Class Member” means a Person who falls within the definition of one or
28

                                                  4
                             STIPULATION AND SETTLEMENT AGREEMENT
                                       Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW     Document 535-2         Filed 09/26/24     Page 6 of 134


 1
                  more of the Classes.
 2
            (j)   “Complaint” means the amended complaint filed in the Action on July 26,
 3
                  2024.
 4
            (k)   “Conference Defendant” means individually each of the ACC, the Big
 5
                  Ten, the Big 12, the Pac-12, and the SEC; collectively the foregoing are
 6
                  referred to as “Conference Defendants.”
 7
            (l)   “Court” means the United States District Court for the Northern District
 8
                  of California.
 9
            (m)   “Damages Fee and Expense Award” means any order entered by the Court
10
                  awarding Class Counsel and/or Additional Counsel any amount of fees
11
                  and/or costs in connection with the settlement of the monetary damages
12
                  claims of the Damages Settlement Classes as detailed in Paragraph 28.
13
            (n)   “Damages Settlement Classes” means the classes asserted in the Action
14
                  pursuant to Fed. R. Civ. P. 23(b)(3) as modified below:
15
                     1. Football and Men’s Basketball Class: All student-athletes who
16
                          have received or will receive full GIA scholarships and compete
17
                          on, competed on, or will compete on a Division I men’s basketball
18
                          team or an FBS football team, at a college or university that is a
19
                          member of one of the Power Five Conferences (including Notre
20
                          Dame), and who have been or will be declared initially eligible for
21
                          competition in Division I at any time from June 15, 2016 through
22
                          September 15, 2024.
23
                     2. Women’s Basketball Class:           All student-athletes who have
24
                          received or will receive full GIA scholarships and compete on,
25
                          competed on, or will compete on a Division I women’s basketball
26
                          team at a college or university that is a member of one the Power
27
                          Five Conferences (including Notre Dame), and who have been or
28

                                          5
                     STIPULATION AND SETTLEMENT AGREEMENT
                               Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW       Document 535-2       Filed 09/26/24     Page 7 of 134


 1
                         will be declared initially eligible for competition in Division I at
 2
                         any time from June 15, 2016 through September 15, 2024.
 3
                     3. Additional Sports Class: Excluding members of the Football and
 4
                         Men’s Basketball Class and members of the Women’s Basketball
 5
                         Class, all student-athletes who compete on, competed on, or will
 6
                         compete on a Division I athletic team and who have been or will
 7
                         be declared initially eligible for competition in Division I at any
 8
                         time from June 15, 2016 through September 15, 2024.
 9
            (o)   “Defendants” means, collectively, the NCAA, the ACC, the Big Ten, the
10
                  Big 12, the Pac-12, and the SEC.
11
            (p)   “Distribution Plan” means the plan or formula of allocation of the Gross
12
                  Settlement Fund for future distribution to Authorized Recipients.
13
            (q)   “Effective Date” means the first date by which all of the events and
14
                  conditions specified in Paragraph 32 of this Agreement have occurred and
15
                  have been met.
16
            (r)   “Escrow Account” means the bank account to be established at a banking
17
                  institution chartered pursuant to the National Bank Act by Class Counsel
18
                  and the NCAA and maintained by the Escrow Agent into which the Gross
19
                  Settlement Fund and any Injunctive Relief Fee and Expense Awards
20
                  payable before the Effective Date shall be deposited, pursuant to the terms
21
                  of this Settlement Agreement and the Escrow Agreement. Such Escrow
22
                  Account is to be administered under the Court’s continuing supervision
23
                  and control.
24
            (s)   “Escrow Agent” means the escrow agent (and any successor agent) jointly
25
                  designated by Class Counsel and the NCAA to administer the Escrow
26
                  Account in accordance with the Escrow Agreement.
27
            (t)   “Escrow Agreement” means the agreement to be mutually agreed to by
28

                                          6
                     STIPULATION AND SETTLEMENT AGREEMENT
                               Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW      Document 535-2         Filed 09/26/24     Page 8 of 134


 1
                   the Parties concerning the Escrow Account.
 2
            (u)    “Execution Date” means the date of the last signature set forth on the
 3
                   signature pages below.
 4
            (v)    “Final Approval” means the date the Court has entered the Final Approval
 5
                   Order as described in Paragraph 15 below.
 6
            (w)    “Gross Settlement Fund” means the NIL Claims Settlement Amount and
 7
                   the Additional Compensation Claims Settlement Amount plus any interest
 8
                   that may accrue.
 9
            (x)    “Injunctive Relief Fee and Expense Awards” means any order entered by
10
                   the Court awarding Class Counsel any amount of fees and/or costs in
11
                   connection with the settlement of the injunctive relief claims of the
12
                   Injunctive Relief Settlement Class as detailed in Paragraph 27.
13
            (y)    “Injunctive Notice Costs” means the reasonable and authorized costs and
14
                   expenses, not to exceed one million US dollars ($1,000,000.00), to be paid
15
                   by Plaintiffs or deducted from the Gross Settlement Fund for the cost of
16
                   notice to the Injunctive Relief Settlement Class.
17
            (z)    “Injunctive Relief Settlement Class” means the class asserted in the Action
18
                   pursuant to Fed. R. Civ. P. 23(b)(2): All student-athletes who compete
19
                   on, competed on, or will compete on a Division I athletic team at any time
20
                   between June 15, 2020 through the end of the Injunctive Relief Settlement
21
                   Term.
22
            (aa)   “Injunctive Relief Settlement” means the Injunctive Relief Settlement
23
                   attached as Appendix A to this Settlement Agreement and fully
24
                   incorporated herein.
25
            (bb)   “Injunctive Relief Settlement Term” or “Term” means ten (10) Academic
26
                   Years from the date of Final Approval of this Agreement.
27
            (cc)   “Judgment” means the order of judgment and dismissal, with prejudice,
28

                                           7
                      STIPULATION AND SETTLEMENT AGREEMENT
                                Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW       Document 535-2           Filed 09/26/24        Page 9 of 134


 1
                   of the Action.
 2
            (dd)   “Member Institution” means any college, school, or university that is a
 3
                   member, in any sport, of NCAA Division I and/or a Conference
 4
                   Defendant, together with any entity owned, controlled, funded, or
 5
                   operated by said college, school, or university (or any division or
 6
                   department thereof).
 7
            (ee)   “NIL Claims Settlement Amount” means the total sum of one billion, nine
 8
                   hundred seventy-six million US dollars ($1,976,000,000.00).
 9
            (ff)   “Notice and Administrative Costs” means the reasonable and authorized
10
                   costs and expenses, not to exceed one million US dollars ($1,000,000.00)
11
                   absent written consent of all Parties, to be paid out of the Gross Settlement
12
                   Fund to pay for the cost of notice to the Damages Settlement Classes and
13
                   related administrative costs.
14
            (gg)   “Notice and Claims Administrator” means the claims administrator(s) to
15
                   be selected by Class Counsel and approved by the Court.
16
            (hh)   “Opt-Out” means a Person who falls within the definition of the Classes
17
                   who has timely and validly elected to be excluded from one of the
18
                   Damages Settlement Classes pursuant to the procedures set forth in this
19
                   Settlement Agreement.
20
            (ii)   “Parties” means, collectively, Defendants and the Plaintiffs (on behalf of
21
                   themselves and the Classes).
22
            (jj)   “Person(s)”      means   an     individual,   corporation,    limited   liability
23
                   corporation, professional corporation, limited liability partnership,
24
                   partnership, limited partnership, association, joint stock company, estate,
25
                   legal representative, trust, unincorporated association, government or any
26
                   political subdivision or agency thereof, and any business or legal entity
27
                   and any spouses, heirs, predecessors, successors, representatives, or
28

                                           8
                      STIPULATION AND SETTLEMENT AGREEMENT
                                Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW        Document 535-2         Filed 09/26/24     Page 10 of 134


 1
                    assignees of any of the foregoing.
 2
             (kk)   “Plaintiffs” means the named plaintiffs in the Action, as well as any
 3
                    individuals who may be added into the Action as additional named class
 4
                    representatives during the Term, with the intent that, to the extent
 5
                    reasonably possible, there is during the Term at least one current student-
 6
                    athlete that is a Plaintiff.
 7
             (ll)   “Preliminary Approval” means the date on which the Court enters the
 8
                    Preliminary Approval Order.
 9
             (mm) “Preliminary Approval Order” means the Order entered by Court, as
10
                    described in Paragraph 12, preliminarily approving the settlement set forth
11
                    in this Agreement.
12
             (nn)   “Released Claims” means the Released Damages Class Claims and the
13
                    Released Injunctive Class Claims.
14
             (oo)   “Released Damages Class Claims” means, for each of the Plaintiffs and
15
                    each and every member of each of the Damages Settlement Classes who
16
                    does not opt out, all manner of claims, demands, actions, suits, causes of
17
                    action, whether class, individual, or otherwise in nature, damages
18
                    whenever incurred, liabilities of any nature whatsoever, including without
19
                    limitation costs, penalties, and attorneys’ fees, known or unknown,
20
                    suspected or unsuspected, asserted or unasserted, in law or equity, that the
21
                    Releasors, or any one of them, whether directly, representatively,
22
                    derivatively, or in any other capacity, ever had, now have, or hereafter can,
23
                    shall, or may have, that were raised or could have been raised in the Action
24
                    prior to Final Approval (1) on account of, arising out of, or resulting from
25
                    any and all previously existing NCAA and conference rules regarding
26
                    monies and benefits that may be provided to student-athletes by the
27
                    NCAA, Division I conferences and/or Division I Member Institutions, or
28

                                            9
                       STIPULATION AND SETTLEMENT AGREEMENT
                                 Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW       Document 535-2          Filed 09/26/24      Page 11 of 134


 1
                    (2) relating in any way to any NCAA or conference limitations on the
 2
                    numbers of scholarships allowed or permitted in any sport, including but
 3
                    not limited to, claims arising under federal or state antitrust, unfair
 4
                    competition, unfair practices, price discrimination, unitary pricing, trade
 5
                    practice, or civil conspiracy law, including without limitation the Sherman
 6
                    Antitrust Act, 15 U.S.C. § 1 et seq. For the avoidance of doubt, the
 7
                    Released Damages Class Claims do not include the Unreleased Claims.
 8
             (pp)   “Released Injunctive Class Claims” means all declaratory and injunctive
 9
                    relief claims, demands, actions, suits, causes of action, whether class,
10
                    individual, or otherwise in nature, liabilities of any nature whatsoever,
11
                    known or unknown, suspected or unsuspected, asserted or unasserted, in
12
                    law or equity, that the Releasors, or any one of them, whether directly,
13
                    representatively, derivatively, or in any other capacity, ever had, now
14
                    have, or hereafter can, shall, or may have, that were raised or could have
15
                    been raised in the Action prior to Final Approval or during the Injunctive
16
                    Relief Settlement Term on account of, arising out of, or resulting from the
17
                    continuation of existing (at the time of filing for preliminary approval of
18
                    the Injunctive Relief Settlement) NCAA and conference rules, as well as
19
                    new or revised NCAA and conference rules agreed to as part of the
20
                    Injunctive Relief Settlement, regarding (1) monies and benefits that may
21
                    be provided to student-athletes by the NCAA, Division I conferences,
22
                    and/or Division I Member Institutions under NCAA or conference rules;
23
                    (2) NCAA roster and scholarship limits as agreed to in the Injunctive
24
                    Relief Settlement; or (3) the subjects addressed by the Related Injunctive
25
                    Relief NCAA & Conference Rules (collectively, the “Injunctive Rules”),
26
                    including, but not limited to, claims arising under federal or state antitrust,
27
                    unfair competition, unfair practices, price discrimination, unitary pricing,
28

                                            10
                       STIPULATION AND SETTLEMENT AGREEMENT
                                 Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW      Document 535-2         Filed 09/26/24      Page 12 of 134


 1
                    trade practice, or civil conspiracy law, including without limitation the
 2
                    Sherman Antitrust Act, 15 U.S.C. § 1 et seq. For the avoidance of doubt,
 3
                    the Released Injunctive Class Claims does not include the Unreleased
 4
                    Claims.
 5
             (qq)   “Related Injunctive Relief NCAA & Conference Rules” means:
 6
                    1.      NCAA and conference rules prohibiting Boosters (individually or
 7
                    collectively) of a Member Institution from entering into NIL licenses with
 8
                    or for the benefit of current or prospective student-athletes at a given
 9
                    Member Institution unless the license/payment is for a valid business
10
                    purpose related to the promotion or endorsement of goods or services
11
                    provided to the general public for profit, with compensation at rates and
12
                    terms commensurate with compensation paid to similarly-situated
13
                    individuals with comparable NIL value who are not current or prospective
14
                    student-athletes at the Member Institution; provided, however, that the
15
                    NCAA or conferences will provide for neutral arbitration, as described in
16
                    Article 6, Section 2 of the Injunctive Relief Settlement, for any Member
17
                    Institution or student-athlete to contest any discipline sought to be
18
                    imposed on them for receiving payments in violation of these rules;
19
                    2.      NCAA and conference rules governing the number of
20
                    seasons/length of time student-athletes are eligible to receive benefits,
21
                    including scholarships and payments pursuant to the Injunctive Relief
22
                    Settlement, including without limitation any rule capping the number of
23
                    years a student-athlete may receive payments at four years, and providing
24
                    that all four of those years must be played within a consecutive five-year
25
                    period (in the event of a national force majeure event that leads to the
26
                    cancellation of games, or the absence of fans, the rules may provide for an
27
                    additional year to be added onto the five-year period);
28

                                              11
                         STIPULATION AND SETTLEMENT AGREEMENT
                                   Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW      Document 535-2       Filed 09/26/24      Page 13 of 134


 1
                  3.      NCAA and conference rules requiring that student-athletes
 2
                  continue to make progress toward a degree while enrolled in any Member
 3
                  Institution in order to receive benefits pursuant to the Injunctive Relief
 4
                  Settlement;
 5
                  4.      All existing (at the time of filing for preliminary approval of the
 6
                  Injunctive Relief Settlement) NCAA rules regarding the compensation
 7
                  and benefits that may or may not be provided by Division I conferences
 8
                  or Member Institutions to student-athletes, modified as necessary to
 9
                  conform to the terms of the Injunctive Relief Settlement and this
10
                  Agreement;
11

12                5.      NCAA and conference rules, subject to Class Counsel’s review

13                and approval that shall not be unreasonably withheld, permitting student-

14                athletes the ability to seek guidance from the Designated Enforcement

15                Entity prior to entering into a proposed NIL contract or agreement as to

16                whether said contract may constitute a violation of the NCAA rules

17                affirmed, revised, or created pursuant to the Injunctive Relief Settlement;

18                6.      NCAA and conference rules, subject to Class Counsel’s review

19                and approval that shall not be unreasonably withheld, permitting a student-

20                athlete to retain or regain eligibility by both (a) rescinding or modifying

21                any agreement determined to be non-compliant with the NCAA rules

22                affirmed, revised, or created pursuant to the Injunctive Relief Settlement

23                and (b) returning, as necessary, any compensation or consideration

24                received pursuant to a non-compliant agreement, in order to expunge any

25                violation of the NCAA rules affirmed, revised, or created pursuant to the

26                Injunctive Relief Settlement;

27

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                                            12
                       STIPULATION AND SETTLEMENT AGREEMENT
                                 Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW       Document 535-2         Filed 09/26/24        Page 14 of 134


 1
                    7.      NCAA and conference rules addressing circumvention subject to
 2
                    the procedures set forth in the Injunctive Relief Settlement Article 6,
 3
                    Section 3.
 4
             (rr)   “Releasees” means jointly and severally, individually and collectively, the
 5
                    NCAA, all Division I conferences, including all Conference Defendants,
 6
                    all Division I Member Institutions, the College Football Playoff, and all
 7
                    of their respective present and former direct and indirect parents,
 8
                    subsidiaries, affiliates, officers, directors, trustees, employees, agents,
 9
                    attorneys, servants, representatives, members, managers, and partners and
10
                    the predecessors, heirs, executors, administrators, successors, and assigns
11
                    of any of the foregoing persons or entities.
12
             (ss)   “Releasors” means, jointly and severally, individually and collectively,
13
                    the Plaintiffs and each and every Class Member on their own behalf and
14
                    on behalf of their respective past and present managers, agents, legal
15
                    representatives,    trustees,   parents,    affiliates,   heirs,   executors,
16
                    administrators, predecessors, successors, and assigns and the past and
17
                    present legal representatives, trustees, parents, heirs, executors,
18
                    administrators, predecessors, successors, and assigns of each of the
19
                    foregoing.
20
             (tt)   “Roster Limits” means the roster limits attached as Appendix B to this
21
                    Settlement Agreement.
22
             (uu)   “Unknown Claims” means any Released Claim that a Plaintiff and/or
23
                    Class Member does not know or suspect to exist in his, her, or their favor
24
                    at the time of the release of the Releasees that if known by him, her, or
25
                    them, might have affected his, her, or their settlement with and release of
26
                    the Releasees, or might have affected his, her or their decision not to object
27
                    to or opt out of this settlement. Such Unknown Claims include claims that
28

                                              13
                         STIPULATION AND SETTLEMENT AGREEMENT
                                   Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW     Document 535-2          Filed 09/26/24     Page 15 of 134


 1
                   are the subject of California Civil Code §1542 and equivalent, similar or
 2
                   comparable laws or principles of law. California Civil Code §1542
 3
                   provides:
 4
                   A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
 5                 THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                   KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
 6
                   THE TIME OF EXECUTING THE RELEASE AND THAT, IF
 7                 KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                   AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
 8                 OR RELEASED PARTY.
 9              (vv)      “Unreleased Claims” means:
10                 1. The claims currently raised in the Complaint in Choh v. Brown

11                     et al., No. 3:23-cv-00305-AWT (D. Conn.) (“Choh”), against

12                     the Ivy League and Ivy League member institutions (“Choh

13                     Defendants”), challenging an alleged agreement among the

14                     Choh Defendants not to award athletic scholarships or otherwise

15                     provide any compensation or education-related reimbursements

16                     for athletic services as permitted under then-applicable NCAA

17                     rules. The previously filed Choh claims arise out of unique

18                     aspects of rules applicable within the Ivy League alone.

19                     Released Damages Class Claims and Released Injunctive Class

20                     Claims otherwise fully apply to student-athletes who are in the

21                     Damages Settlement Classes or the Injunctive Relief Settlement

22                     Class, including but not limited to Ivy League student-athletes,

23                     and likewise otherwise fully apply to Releasees, which include

24                     but are not limited to the Ivy League, Ivy League member

25                     institutions, and Defendants;

26                 1.2.The claims currently stated in the Complaint in Johnson et al. v.

27                     National Collegiate Athletic Association et al., No. 2:19-cv-

28                     05230-JP (E.D. Pa.), claims under the Fair Labor Standards Act,

                                            14
                       STIPULATION AND SETTLEMENT AGREEMENT
                                 Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24     Page 16 of 134


 1
                              29 U.S.C. § 201 et seq., or any other federal labor law, or claims
 2
                              under any analogous state labor laws; and
 3
                          3. Claims under Title IX of the Education Amendments of 1972,
 4
                              20 U.S.C. § 1681 et seq., other than any claims arising out of or
 5
                              relating to the distribution of the Gross Settlement Fund.
 6
           B.      Injunctive Relief Settlement Terms
 7
            2.     The terms set forth in Appendix A hereto relating to the Injunctive Relief
 8
     Settlement are incorporated as if fully set forth in this Settlement Agreement and shall be
 9
     complied with by Plaintiffs, all members of the Injunctive Relief Settlement Class, Class
10
     Counsel, Defendants, and Member Institutions that choose to provide or facilitate payments or
11
     benefits to student-athletes as permitted by the Injunctive Relief Settlement including but not
12
     limited to incremental scholarships permitted by Article 3, Section 3(b) of the Injunctive Relief
13
     Settlement.
14
           C.      Damages Settlement Classes Settlement Funds
15
            3.     Settlement Payments. In full, complete, and final settlement of any and all
16
     claims for NIL-related damages in the Action, Defendants shall pay the NIL Claims Settlement
17
     Amount in equal, annual installments over the course of ten (10) years with the first installment
18
     due on May 15, 2025, or within forty-five (45) days of entry of the Final Approval Order,
19
     whichever is later; all such payments shall be deposited into the Escrow Account. In full,
20
     complete, and final settlement of any and all additional claims for damages in the Action,
21
     Defendants shall pay the Additional Compensation Claims Settlement Amount in equal, annual
22
     installments over the course of ten (10) years with the first installment due on May 15, 2025, or
23
     within forty-five (45) days of entry of the Final Approval Order, whichever is later; all such
24
     payments shall be deposited into the Escrow Account. Payments subsequent to the first
25
     installment will be made on July 15 of each calendar year beginning in the first year after the
26
     first installment is made and all such subsequent payments shall be deposited into the Escrow
27
     Account. In the event that the foregoing dates fall on a Saturday, Sunday, or a U.S. bank
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24          Page 17 of 134


 1
     holiday, the payment will be made on the next business day. The NIL Claims Settlement
 2
     Amount and Additional Compensation Claims Settlement Amount together represent an all-in
 3
     cash settlement amount for the damages claims in the Action, which includes all monetary
 4
     benefits and distributions to the members of the Damages Settlement Classes, attorneys’ fees
 5
     and expenses except as specified in this Settlement Agreement, escrow fees, taxes, tax expenses,
 6
     and all other costs and expenses relating to the settlement (including, but not limited to,
 7
     administration costs and expenses, notice costs and expenses, and settlement costs and
 8
     expenses).
 9
            4.      Disbursements Prior to Effective Date. The Gross Settlement Fund will remain
10
     subject to the jurisdiction of the Court until such time as it is fully distributed in compliance
11
     with the Settlement Agreement, Escrow Agreement, and any applicable Court order. No
12
     amount may be disbursed from the Gross Settlement Fund unless and until the Effective Date,
13
     except that: (a) Notice and Administrative Costs and Injunctive Notice Costs may be paid from
14
     the Gross Settlement Fund as they become due; and (b) Taxes and Tax Expenses (as defined in
15
     Paragraph 5 below) may be paid as they become due. Class Counsel will attempt in good faith
16
     to minimize the amount of Notice and Administrative Costs and Injunctive Notice Costs.
17
            5.      Taxes. The Escrow Account is intended by the Parties to be treated as being at
18
     all times a “qualified settlement fund” within the meaning of Treas. Reg. §1.468B-1, and to that
19
     end the Parties hereto shall cooperate with each other and shall not take a position in any filing
20
     or before any tax authority that is inconsistent with such treatment. The Escrow Agent shall
21
     timely make such elections as necessary or advisable to carry out the provisions of this
22
     paragraph, including the “relation-back election” (as defined in Treas. Reg. §1.468B-1(j)) back
23
     to the earliest permitted date. Such elections shall be made in compliance with the procedures
24
     and requirements contained in such regulations. It shall be the responsibility of the Escrow
25
     Agent to prepare and deliver timely and properly the necessary documentation for signature by
26
     all necessary parties, and thereafter to cause the appropriate filing to occur.
27
                 (a) For the purpose of §468B of the Internal Revenue Code of 1986, as amended, and
28

                                                    16
                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW        Document 535-2         Filed 09/26/24       Page 18 of 134


 1
             the regulations promulgated thereunder, the “administrator” shall be the Escrow
 2
             Agent. The Escrow Agent shall satisfy the administrative requirements imposed
 3
             by Treas. Reg. §1.468B-2 by, e.g., (i) obtaining a taxpayer identification number,
 4
             (ii) satisfying any information reporting or withholding requirements imposed on
 5
             distributions from the Gross Settlement Fund, and (iii) timely and properly filing
 6
             applicable federal, state and local tax returns necessary or advisable with respect
 7
             to the Gross Settlement Fund (including, without limitation, the returns described
 8
             in Treas. Reg. §1.468B-2(k)) and paying any taxes reported thereon. Such returns
 9
             (as well as the election described in this paragraph) shall be consistent with the
10
             provisions of this paragraph and in all events shall reflect that all Taxes as defined
11
             in Paragraph 5(b) below on the income earned by the Gross Settlement Fund shall
12
             be paid out of the Gross Settlement Fund as provided in Paragraph 6 hereof.
13
          (b) The following shall be paid out of the Gross Settlement Fund: (i) all taxes
14
             (including any estimated taxes, interest or penalties) arising with respect to the
15
             income earned by the Gross Settlement Fund, including, without limitation, any
16
             taxes or tax detriments that may be imposed upon Defendants or their counsel
17
             with respect to any income earned by the Gross Settlement Fund for any period
18
             during which the Gross Settlement Fund does not qualify as a “qualified
19
             settlement fund” for federal or state income tax purposes (collectively, “Taxes”);
20
             and (ii) all expenses and costs incurred in connection with the operation and
21
             implementation of this paragraph, including, without limitation, expenses of tax
22
             attorneys and/or accountants and mailing and distribution costs and expenses
23
             relating to filing (or failing to file) the returns described in this paragraph
24
             (collectively, “Tax Expenses”).
25
          (c) In all events neither Defendants nor their counsel shall have any liability or
26
             responsibility for the Taxes or the Tax Expenses. With funds from the Gross
27
             Settlement Fund, the Escrow Agent shall indemnify and hold harmless
28

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                        STIPULATION AND SETTLEMENT AGREEMENT
                                  Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW            Document 535-2        Filed 09/26/24     Page 19 of 134


 1
                    Defendants and their counsel for Taxes and Tax Expenses (including, without
 2
                    limitation, Taxes payable by reason of any such indemnification). Further, Taxes
 3
                    and Tax Expenses shall be treated as, and considered to be, a cost of
 4
                    administration of the Gross Settlement Fund and shall timely be paid by the
 5
                    Escrow Agent out of the Gross Settlement Fund without prior order from the
 6
                    Court, and the Escrow Agent shall be obligated (notwithstanding anything herein
 7
                    to the contrary) to withhold from distribution to Authorized Recipients any funds
 8
                    necessary to pay such amounts, including the establishment of adequate reserves
 9
                    for any Taxes and Tax Expenses (as well as any amounts that may be required to
10
                    be withheld under Treas. Reg. §1.468B-2(1)(2)); neither Defendants nor their
11
                    counsel are responsible therefor, nor shall they have any liability therefor. The
12
                    Parties agree to cooperate with the Escrow Agent, each other, their tax attorneys
13
                    and their accountants to the extent reasonably necessary to carry out the
14
                    provisions of this paragraph.
15
            6.      Distribution of Gross Settlement Fund. Upon further order of the Court, the
16
     Notice and Claims Administrator, subject to the supervision and direction of the Court and/or
17
     Class Counsel as may be necessary or as circumstances may require, shall administer and
18
     oversee distribution of the Gross Settlement Fund to Authorized Recipients pursuant to the
19
     Distribution Plan, which must be approved by the Court. Subject to the terms of this Agreement,
20
     the Distribution Plan and any order(s) of the Court, the Gross Settlement Fund shall be applied
21
     as follows:
22
                 (a) To pay all costs and expenses reasonably and actually incurred in connection with
23
                    providing notice to the Classes in connection with administration and distribution
24
                    to Authorized Recipients, and in connection with paying escrow fees and costs as
25
                    detailed herein, if any;
26
                 (b) To pay the Taxes and Tax Expenses as defined herein;
27
                 (c) To pay any Damages Fee and Expense Award that is allowed by the Court, subject
28

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                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 20 of 134


 1
                    to and in accordance with the Settlement Agreement; and
 2
                 (d) To distribute the balance to Authorized Recipients as allowed by the Agreement,
 3
                    the Distribution Plan or order of the Court.
 4
            7.      No Liability for Distribution of Settlement Funds.           Releasees will make
 5
     reasonable efforts to facilitate Class Counsel’s receipt of records necessary to identify Class
 6
     Members. Neither the Releasees nor their counsel, however, shall have any responsibility for,
 7
     or liability whatsoever with respect to, the distribution of the Gross Settlement Fund, the
 8
     Distribution Plan, the determination, administration or calculation of claims, the Settlement
 9
     Fund’s qualification as a “qualified settlement fund”, the payment or withholding of Taxes or
10
     Tax Expenses, or any losses incurred in connection with any such matters. In addition to the
11
     releases set forth in Paragraphs 19 and 23 herein, the Releasors hereby fully, finally and forever
12
     release, relinquish, and discharge the Releasees and their counsel from any and all such liability.
13
     No Person shall have any claim against Class Counsel or the Notice and Claims Administrator
14
     based on the distributions made substantially in accordance with this Settlement Agreement, the
15
     Distribution Plan, or further orders of the Court.
16
            8.      All Claims Satisfied by Gross Settlement Fund. Each Class Member shall look
17
     solely to the Gross Settlement Fund for settlement and satisfaction, as provided herein, of all
18
     claims released herein. Except as provided by order of the Court pursuant to this Settlement
19
     Agreement, no Class Member shall have any interest in the Gross Settlement Fund or any
20
     portion thereof.
21
            9.      Balance Remaining in Gross Settlement Fund. If there is any balance
22
     remaining in the Gross Settlement Fund (whether by reason of tax refunds, uncashed checks or
23
     otherwise), subject to Court approval, Class Counsel may distribute such balance in an equitable
24
     and economic fashion to Authorized Recipients. In no event shall any portion of the Gross
25
     Settlement Fund revert to Defendants.
26
           D.       Preliminary Approval Order, Notice Order, Final Approval Hearing &
27
                    Appeals
28

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                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 21 of 134


 1
             10.   Reasonable Best Efforts to Effectuate This Settlement.             The Parties: (a)
 2
     acknowledge that it is their intent to consummate this Agreement; and (b) agree to cooperate to
 3
     the extent reasonably necessary to effectuate and implement the terms and conditions of this
 4
     Agreement and to exercise their best efforts to accomplish the terms and conditions of this
 5
     Agreement. In addition, Class Counsel agree to recommend approval of this settlement by the
 6
     Court without qualification or condition not set forth herein.
 7
             11.   Conditional Certification of Classes. The Parties agree and hereby stipulate to
 8
     the certification of the Classes set forth in Paragraphs 1(n) and 1(z) of this Agreement pursuant
 9
     to Fed. R. Civ. P. 23. The Parties’ stipulation to the certification of the Classes is for purposes
10
     of the settlement set forth in this Agreement only. Defendants’ agreement to the certification
11
     of the Classes solely for the purpose of this Agreement does not, and shall not, constitute, in
12
     this or any other proceeding, an admission by any Defendant of any kind or any determination
13
     that certification of any class for trial or other litigation purposes in the Action or any other
14
     separate action is, or would be, appropriate.       Defendants reserve all rights to challenge
15
     certification of any class or subclass in any other action on all available grounds as if no class
16
     had been certified in this Action for purposes of the settlement.
17
             12.   Motion for Preliminary Approval. Class Counsel shall submit to the Court a
18
     motion for preliminary approval of the settlement and final judgment contemplated by this
19
     Settlement Agreement and for a stay of all proceedings in the Action against Defendants until
20
     the Court renders a final decision regarding the approval of the settlement and, if it approves
21
     the settlement, enters the Judgment. The motion shall include: (a) the proposed forms of notice
22
     of the settlement to members of the Classes as detailed in Paragraph 14, and (b) the proposed
23
     form of order preliminarily approving this settlement. Class Counsel shall provide Defendants’
24
     counsel with a draft of the motion for preliminary approval at least two (2) business days prior
25
     to filing.
26
             13.   Proposed Form of Notice. Along with the motion for preliminary approval,
27
     Class Counsel shall submit to the Court for approval a proposed form of, method for and
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 22 of 134


 1
     schedule for dissemination of notice to the Injunctive Relief Settlement Class and the Damages
 2
     Settlement Classes. To the extent practicable and to the extent consistent with this paragraph,
 3
     Class Counsel may seek to coordinate this notice program with the settlement of claims in
 4
     Hubbard, et al v. NCAA, et al., Case No. 4:2023-cv-01593 (N.D. Cal.) (“Hubbard”). The
 5
     motion for preliminary approval shall recite and ask the Court to find that the proposed form of
 6
     and method for dissemination of notice to the Classes constitutes valid, due, and sufficient
 7
     notice to the Classes, constitutes the best notice practicable under the circumstances, and
 8
     complies fully with the requirements of Federal Rule of Civil Procedure 23 and the Northern
 9
     District of California’s Procedural Guidance for Class Action Settlements. Defendants shall be
10
     responsible for providing any notice that may be required by the Class Action Fairness Act of
11
     2005.
12
             14.   Additional Notice. During the Injunctive Relief Settlement Term, Defendants,
13
     conferences, and/or their Member Institutions shall take reasonable steps to provide a notice of
14
     the Injunctive Relief Settlement (in a form approved by Class Counsel and the Court) to all
15
     Division I student-athletes at or before the time they first enroll at a Division I Member
16
     Institution (“incoming student-athletes”) or later join, for the first time, a Division I Member
17
     Institution athletic team. All such incoming student-athletes shall have the right to file written
18
     objections to a continuation of the Injunctive Relief Settlement with the Court within sixty (60)
19
     days of receiving such notice.
20
             15.   Motion for Final Approval and Entry of Judgment. Class Counsel shall
21
     submit a motion for final approval of this Settlement Agreement by the Court, after notice to
22
     the members of the Classes, and shall seek entry of the final approval order (“Final Approval
23
     Order”) and Judgment as set forth herein:
24
                   (a)     Certifying the Classes, pursuant to Federal Rule of Civil Procedure 23,
25
                           solely for purposes of this settlement;
26
                   (b)     fully and finally approving the settlement contemplated by this Agreement
27
                           and its terms as being fair, reasonable, and adequate within the meaning
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW             Document 535-2        Filed 09/26/24      Page 23 of 134


 1
                            of Federal Rule of Civil Procedure 23 and directing its consummation
 2
                            pursuant to its terms and conditions;
 3
                    (c)     entering the injunction contemplated by Appendix A;
 4
                    (d)     finding that the notice given to the Class Members constituted the best
 5
                            notice practicable under the circumstances and complies in all respects
 6
                            with the requirements of Federal Rule of Civil Procedure 23 and due
 7
                            process;
 8
                    (e)     directing that the Action be dismissed with prejudice as to all Released
 9
                            Claims as to the Releasees, after final approval is granted and any appeals
10
                            are exhausted, and, except as provided for herein, without costs;
11
                    (f)     discharging and releasing the Releasees from all Released Claims;
12
                    (g)     permanently barring and enjoining the institution and prosecution, by
13
                            Plaintiffs and Class Members, of any other action against the Releasees in
14
                            any court asserting any Released Claims;
15
                    (h)     reserving continuing and exclusive jurisdiction over this settlement,
16
                            including all future proceedings concerning the administration,
17
                            consummation and enforcement of this Agreement;
18
                    (i)     determining pursuant to Federal Rule of Civil Procedure 54(b) that there
19
                            is no just reason for delay and directing entry of a final judgment as to the
20
                            Defendants; and
21
                    (j)     containing such other and further provisions consistent with the terms of
22
                            this Agreement to which the parties expressly consent in writing.
23
     Class Counsel shall provide Defendants’ counsel with a draft of the motion for final approval
24
     at least five (5) business days prior to filing.
25
             16.    Stay Following Motion for Preliminary Approval.               After the Settlement
26
     Agreement is presented to the Court for preliminary approval, the Parties shall cease all
27
     litigation activities in pursuing the Released Claims and any defenses related thereto other than
28

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                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 24 of 134


 1
     those actions and activities necessary to effectuate the terms of this Settlement Agreement. For
 2
     the avoidance of doubt, in the event that the Court enters the Preliminary Approval Order but
 3
     does not concurrently stay all proceedings in Fontenot v. NCAA, et al., Case No. 1:2023-CV-
 4
     03076 (D. Colo.) (as part of the Preliminary Approval Order or otherwise), this paragraph shall
 5
     not operate to prohibit the Parties, or any one of them, from seeking an order from this Court,
 6
     or the court presiding over the Fontenot matter, staying, dismissing, or otherwise resolving that
 7
     case. The stay of litigation activities contemplated by this paragraph shall remain in effect
 8
     unless and until the Court denies preliminary approval or final approval of this Settlement
 9
     Agreement. Upon the date that the Court enters an order preliminarily approving this Settlement
10
     Agreement, Plaintiffs and Class Members shall be barred and enjoined from commencing,
11
     instituting, or continuing to prosecute any action or any proceeding in any court of law or equity,
12
     arbitration tribunal, administrative forum, or other forum of any kind worldwide based on the
13
     Released Claims.
14
            17.    Time to Appeal. The time to appeal from an approval of this Settlement
15
     Agreement shall commence upon the Court’s entry of the Judgment, regardless of whether or
16
     not an application for attorneys’ fees and expenses has been submitted to the Court or resolved.
17
            18.    Impact of Appeal. The Injunctive Relief Settlement shall be effective as of the
18
     date of entry of the Final Approval Order, regardless of any appeal that may be taken of any or
19
     all of the Settlement Agreement, Final Approval Order, or Judgment in this Action or the
20
     settlement in Hubbard. In the event of an appeal of any or all of the Settlement Agreement,
21
     Final Approval Order, or Judgment in this Action or Hubbard the Injunctive Relief Fee and
22
     Expense Awards described in Paragraph 27 will be paid into the Escrow Account pursuant to
23
     that paragraph, and the settlement payments described in Paragraph 3 will be paid into the
24
     Escrow Account on the schedule set forth that paragraph. No payments shall be made to Class
25
     Members, Class Counsel, or Additional Counsel until all appeals of this Action and the Hubbard
26
     action have been exhausted and the judgment entered in each becomes final and non-appealable.
27

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24       Page 25 of 134


 1
           E.      Release of Injunctive Claims
 2
            19.    Released Injunctive Class Claims. Upon and after the Effective Date, through
 3
     the Injunctive Relief Settlement Term, the Releasors who are members of the Injunctive Relief
 4
     Settlement Class (regardless of whether any such Releasor ever seeks or obtains any recovery
 5
     by any means) shall be deemed to have, and by operation of the Judgment shall have fully,
 6
     finally and forever released, relinquished and discharged all Released Injunctive Class Claims
 7
     against the Releasees.
 8
            20.    No Future Actions Following Release. The Releasors who are members of the
 9
     Injunctive Relief Settlement Class shall not, after the Effective Date, seek (directly or indirectly)
10
     to commence, institute, maintain, or prosecute any suit, action, or complaint or collect from or
11
     proceed against the Defendants or any other Releasee (including pursuant to the Action) based
12
     on the Released Injunctive Class Claims in any forum worldwide, whether on his, her, or their
13
     own behalf or as part of any putative, purported, or certified class.
14
            21.    Covenant Not to Sue. The Releasors who are members of the Injunctive Relief
15
     Settlement Class covenant and agree that they, and each of them, will forever refrain from
16
     instituting, maintaining, prosecuting, or continuing to maintain or prosecute any suit or action,
17
     or collecting from, seeking to recover from, or proceeding against the Releasees in connection
18
     with any of the Released Injunctive Class Claims. Plaintiffs and their counsel acknowledge that
19
     Defendants consider it to be a material term of this Settlement Agreement that all Injunctive
20
     Relief Settlement Class Members will be bound by the provisions of this release; provided,
21
     however, that should there be a breach of this covenant not to sue by any member of the
22
     Injunctive Relief Settlement Class, Plaintiffs and Class Counsel will cooperate with Defendants’
23
     efforts to seek the dismissal of any such claim or action. The Parties contemplate and agree that
24
     this Agreement may be pleaded as a bar to a lawsuit, and an injunction may be sought by the
25
     Parties, or any one of them, preventing any action from being initiated or maintained in any case
26
     sought to be prosecuted on behalf of any Releasors who are members of the Injunctive Relief
27
     Settlement Class with respect to the Released Injunctive Class Claims.
28

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                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 26 of 134


 1
            22.    Waiver of California Civil Code §1542 and Similar Laws. The Releasors who
 2
     are members of the Injunctive Relief Settlement Class acknowledge that, by executing this
 3
     Agreement, and for the consideration received hereunder, it is their intention to release, and
 4
     they are releasing, all Released Injunctive Class Claims, even Unknown Claims. In furtherance
 5
     of this intention, the Releasors who are members of the Injunctive Relief Settlement Class
 6
     expressly waive and relinquish, to the fullest extent permitted by law, any rights or benefits
 7
     conferred by the provisions of California Civil Code §1542, as set forth in Paragraph 1(pp), or
 8
     equivalent, similar, or comparable law of any state or territory of the United States, or principle
 9
     of common law or any law or principle of law of any jurisdiction that would limit or restrict the
10
     effect or scope of the provisions of the releases set forth in this Settlement Agreement. The
11
     Releasors who are members of the Injunctive Relief Settlement Class acknowledge and hereby
12
     expressly waive and release with respect to the Released Injunctive Class Claims any and all
13
     provisions, rights, and benefits conferred by California Civil Code §1542 or by any equivalent,
14
     similar or comparable law or principle of law in any jurisdiction. The Releasors who are
15
     members of the Injunctive Relief Settlement Class may hereafter discover facts other than or
16
     different from those which they know or believe to be true with respect to the subject matter of
17
     the Released Injunctive Class Claims, but these Releasors hereby expressly waive and fully,
18
     finally and forever settle and release any known or unknown, suspected or unsuspected,
19
     foreseen or unforeseen, asserted or un-asserted, contingent or non-contingent, and accrued or
20
     unaccrued claim, loss, or damage with respect to the Released Injunctive Class Claims, whether
21
     or not concealed or hidden, without regard to the subsequent discovery or existence of such
22
     additional or different facts. The release of unknown, unanticipated, unsuspected, unforeseen,
23
     and unaccrued losses or claims in this paragraph is contractual and not a mere recital.
24
           F.      Release of Damages Claims
25
            23.    Released Damages Claims. Upon the Effective Date, the Releasors who are
26
     members of the Damages Settlement Classes (regardless of whether any such Releasor ever
27
     seeks or obtains any recovery by any means) shall be deemed to have, and by operation of the
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24     Page 27 of 134


 1
     Judgment shall have fully, finally and forever released, relinquished and discharged all Released
 2
     Damages Class Claims against the Releasees.
 3
            24.    No Future Actions Following Release. The Releasors who are members of the
 4
     Damages Settlement Classes shall not, after the Effective Date, seek (directly or indirectly) to
 5
     commence, institute, maintain, or prosecute any suit, action or complaint or collect from or
 6
     proceed against the Defendants or any other Releasee (including pursuant to the Action) based
 7
     on the Released Damages Class Claims in any forum worldwide, whether on his, her, or their
 8
     own behalf or as part of any putative, purported, or certified class.
 9
            25.    Covenant Not to Sue.        The Releasors who are members of the Damages
10
     Settlement Classes covenant and agree that they, and each of them, will forever refrain from
11
     instituting, maintaining, prosecuting, or continuing to maintain or prosecute any suit or action,
12
     or collecting from, seeking to recover from, or proceeding against the Releasees in connection
13
     with any of the Released Damages Class Claims. Plaintiffs and their counsel acknowledge that
14
     Defendants consider it to be a material term of this Settlement Agreement that all Class
15
     Members who are members of the Damages Settlement Classes will be bound by the provisions
16
     of this release; provided, however, that should there be a breach of this covenant not to sue by
17
     any member of the Damages Settlement Class, Plaintiffs and Class Counsel will cooperate with
18
     Defendants’ efforts to seek the dismissal of any such claim or action. The Parties contemplate
19
     and agree that this Agreement may be pleaded as a bar to a lawsuit, and an injunction may be
20
     sought by the Parties, or any one of them, preventing any action from being initiated or
21
     maintained in any case sought to be prosecuted on behalf of any Releasors who are members of
22
     the Damages Settlement Classes with respect to the Released Damages Class Claims. Claimants
23
     on the Gross Settlement Fund shall execute a release of the Releasees as a condition precedent
24
     to receipt of any part of the Gross Settlement Fund, but the failure of any claimant to execute
25
     such a release shall not in any way affect the validity of the release provided in this paragraph,
26
     and they shall nonetheless be bound by the terms of such release.
27
            26.    Waiver of California Civil Code §1542 and Similar Laws. The Releasors who
28

                                                   26
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24     Page 28 of 134


 1
     are members of the Damages Settlement Classes acknowledge that, by executing this
 2
     Agreement, and for the consideration received hereunder, it is their intention to release, and
 3
     they are releasing, all Released Damages Class Claims, even Unknown Claims. In furtherance
 4
     of this intention, the Releasors who are members of the Damages Settlement Classes expressly
 5
     waive and relinquish, to the fullest extent permitted by law, any rights or benefits conferred by
 6
     the provisions of California Civil Code §1542, as set forth in Paragraph 1(oo), or equivalent,
 7
     similar, or comparable law of any state or territory of the United States, or principle of common
 8
     law or any law or principle of law of any jurisdiction that would limit or restrict the effect or
 9
     scope of the provisions of the releases set forth in this Settlement Agreement. The Releasors
10
     hereby expressly waive and release with respect to the Released Damages Class Claims any and
11
     all provisions, rights and benefits conferred by California Civil Code §1542 or by any
12
     equivalent, similar or comparable law or principle of law in any jurisdiction. The Releasors
13
     who are members of the Damages Settlement Classes may hereafter discover facts other than
14
     or different from those which they know or believe to be true with respect to the subject matter
15
     of the Released Damages Class Claims, but these Releasors hereby expressly waive and fully,
16
     finally and forever settle and release any known or unknown, suspected or unsuspected,
17
     foreseen or unforeseen, asserted or un-asserted, contingent or non-contingent, and accrued or
18
     unaccrued claim, loss, or damage with respect to the Released Damages Class Claims, whether
19
     or not concealed or hidden, without regard to the subsequent discovery or existence of such
20
     additional or different facts. The release of unknown, unanticipated, unsuspected, unforeseen,
21
     and unaccrued losses or claims in this paragraph is contractual and not a mere recital.
22
           F.      Attorneys’ Fees & Expenses
23
            27.    Injunctive Relief Fee and Expense Awards.
24
            (a)    Class Counsel shall have the right to apply to the Court for, and Defendants shall
25
     not oppose, an upfront injunctive fee and cost award of $20 million, which, if approved, shall
26
     be paid for by Defendants within forty-five (45) days of entry of the Court’s Order pursuant to
27
     Paragraph 27(d) below.
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24     Page 29 of 134


 1
            (b)    For so long as this Agreement remains in effect without material modification,
 2
     Class Counsel may apply to the Court, or a special master appointed by the Court, for an award
 3
     of a percentage of the total amount spent by Division I Member Institutions under the Pool (as
 4
     defined in Appendix A hereto) for each Academic Year. That percentage shall start at 0.75%
 5
     and increase by 0.25% no more than three (3) times when the Pool is reset pursuant to Article
 6
     3 Section 1(f)-(h) of Appendix A, irrespective of how many times the Pool is reset during the
 7
     Injunctive Relief Settlement Term. Defendants reserve the right to oppose any such application
 8
     but agree not to unreasonably oppose any such application for so long as the Injunctive Relief
 9
     Settlement remains in effect without material modification. Any such amount that is approved
10
     by the Court or special master will be paid to Class Counsel by Defendants and counted against
11
     the Pool as follows: Defendants shall pay to Class Counsel the amount approved by the Court
12
     in accordance with this Paragraph within forty-five (45) days of entry of the Court’s Order
13
     awarding any such amounts, subject to Paragraph 27(d) below. That amount will then be
14
     deducted from the Pool for the following Academic Year. All fees paid under this provision
15
     shall be equally divided between Class Counsel i.e., Hagens Berman and Winston & Strawn.
16
            (c)    Class Counsel also may file a fee and cost application with the Court, or a special
17
     master appointed by the Court, each Academic Year of the Injunctive Relief Settlement Term
18
     to compensate Class Counsel based on their reasonable hourly fees and costs for their ongoing
19
     work in monitoring and enforcing compliance with this Agreement. Defendants reserve the
20
     right to oppose any such application but agree not to unreasonably oppose any such application
21
     for so long as the Injunctive Relief Settlement remains in effect without material modification.
22
     All such fees and costs will be paid by the Defendants and not be deducted from the Pool.
23
     Defendants shall pay to Class Counsel the amount approved by the Court in accordance with
24
     this Paragraph within forty-five (45) days of entry of the Court’s Order awarding any such
25
     amounts, subject to Paragraph 27(d) below.        Any such application and award shall be
26
     independent of and considered separately from any of the applications or awards described in
27
     sections (a) or (b) of this Paragraph.
28

                                                    28
                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24     Page 30 of 134


 1
            (d)    Prior to the Effective Date, any Injunctive Fee and Expense Awards payable under
 2
     Paragraphs 27(a) and 27(b) shall be deposited into the Escrow Account, and paid to Class
 3
     Counsel, plus any interest that may accrue, within ten (10) days of the Effective Date.
 4
            (e)    No Injunctive Fee and Expense Awards shall be paid to Class Counsel prior to the
 5
     Effective Date. In no event shall Defendants or any other of the Releasees be liable to pay any
 6
     fees, expenses, costs, or interest in connection with the Injunctive Relief Settlement, except to
 7
     the extent they are approved by the Court.
 8
            (f)    All of the above fee and expense applications and awards shall be independent of
 9
     and considered separately from any fee or costs award that Class Counsel may seek with respect
10
     to the settlements of the damages claims in this Action or in any other action.
11
            28.    Damages Fee and Expense Awards. Class Counsel may submit an application
12
     or applications for distributions from the Gross Settlement Fund for: (a) an award of attorneys’
13
     fees; plus (b) reimbursement of expenses incurred in connection with prosecuting the Action;
14
     plus (c) any interest on such attorneys’ fees and expenses (until paid), as appropriate, and as
15
     may be awarded by the Court. Defendants reserve the right to object to any fee application.
16
            29.    No Damages Fee and Expense Awards shall be paid prior to the Effective Date.
17
     In no event shall Defendants or any other of the Releasees be liable to pay any fees, expenses,
18
     costs, or interest in connection with the settlement of the monetary damages claims of the
19
     Damages Settlement Classes, except to the extent they are approved by the Court and paid out
20
     of the Gross Settlement Fund.
21
            30.    Award of Fees and Expenses Not Part of Settlement. The procedure for, and
22
     the allowance or disallowance by the Court of, the fee and expense applications described in
23
     Paragraphs 27-29 (“Fee and Expense Applications”) are not part of the settlement set forth in
24
     this Agreement and are to be considered by the Court separately from the Court’s consideration
25
     of the fairness, reasonableness, and adequacy of the settlement set forth in this Agreement. Any
26
     order or proceedings relating to the Fee and Expense Applications, or any appeal from any Fee
27
     and Expense Award or any other order relating thereto or reversal or modification thereof, shall
28

                                                   29
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW             Document 535-2      Filed 09/26/24      Page 31 of 134


 1
     not operate to terminate or cancel this Agreement, or affect or delay the finality of the Judgment
 2
     and the settlement of the Action as set forth herein. No order of the Court or modification or
 3
     reversal on appeal of any order of the Court concerning any Fee and Expense Award or
 4
     Distribution Plan shall constitute grounds for cancellation or termination of this Agreement.
 5
            31.    Other Fees and Expenses. Except as otherwise provided in this Settlement
 6
     Agreement, each party shall bear its own costs and attorneys’ fees.
 7
           G.      Conditions of Settlement, Effect of Disapproval, Cancellation or
 8
                   Termination
 9
            32.    Effective Date. The Effective Date of this Agreement shall be conditioned on the
10
     occurrence of all of the following events:
11
           (a)     Defendants no longer have any right to terminate this Agreement or if they do
12
                   have such right, they have given written notice to Class Counsel that they will not
13
                   exercise such right;
14
           (b)     the Court has finally approved the settlement as described herein, following notice
15
                   to the Classes and a hearing, as prescribed by Rule 23 of the Federal Rules of
16
                   Civil Procedure, and has entered the Judgment; and
17
           (c)     the Judgment has become “Final” meaning, that such order represents a final and
18
                   binding determination of all issues within its scope and is not subject to further
19
                   review on appeal or otherwise. Without limitation, the Judgment becomes “Final”
20
                   when: (a) no appeal has been filed and the prescribed time for commencing any
21
                   appeal has expired; or (b) an appeal has been filed and either (i) the appeal has
22
                   been dismissed and the prescribed time, if any, for commencing any further appeal
23
                   has expired, or (ii) the Judgment has been affirmed in its entirety and the
24
                   prescribed time, if any, for commencing any further appeal has expired. For
25
                   purposes of this Agreement, an “appeal” includes appeals as of right,
26
                   discretionary appeals, interlocutory appeals, proceedings involving writs of
27
                   certiorari or mandamus, and any other proceedings of like kind. Any appeal or
28

                                                   30
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 32 of 134


 1
                   other proceeding pertaining solely to any order issued with respect to an
 2
                   application for attorneys’ fees and expenses consistent with this Agreement, shall
 3
                   not in any way delay or preclude the Judgment from becoming Final. It is agreed
 4
                   that in determining the times for appeal, further appeal, or review, the provisions
 5
                   of Fed. R. Civ. P. 60 and of the All Writs Act, 28 U.S.C. § 1651, shall not be taken
 6
                   into account.
 7
     If all of these conditions are not met, then this Agreement shall be terminated, subject to and in
 8
     accordance with Paragraphs 33-38.
 9
            33.    Conditions Precedent to the Effective Date/Termination. The Effective Date
10
     also shall be conditioned on the Parties reaching a full settlement agreement resolving the
11
     damages claims in Hubbard and that agreement being fully and finally approved by the Court
12
     and judgment in favor of Defendants in that matter becoming Final. Further, in the event the
13
     opt-out percentage thresholds in Paragraph 37(c) and/or those in the Hubbard settlement
14
     agreement are exceeded, Defendants may, in their sole discretion, elect to terminate this
15
     Agreement as well, provided that Defendants exercise such a termination right within forty-five
16
     (45) days of receiving a final report from Class Counsel as to the number of Opt-Outs for the
17
     Damages Settlement Classes in this Action and in Hubbard.
18
            34.    Effect of Disapproval. If the Court refuses, preliminarily or otherwise, to
19
     approve the settlement or this Settlement Agreement or any part hereof, or if such approval is
20
     modified or set aside on appeal, or if the Court does not enter the Judgment provided for in
21
     Paragraph 15 hereof, or if the Court enters the Judgment and appellate review is sought and, on
22
     such review, such Judgment is not affirmed in its entirety, Defendants and Class Counsel shall,
23
     at their sole discretion, each have the option to rescind, cancel, and terminate this Settlement
24
     Agreement (excepting Paragraphs 35, 39-41, 45, and 61 hereof). Similarly, if the Court refuses
25
     to preliminarily approve Defendants’ settlements or settlement agreements (or any part thereof)
26
     in Hubbard, or if the Court does not enter the Judgment in Hubbard, or if the Court enters the
27
     Judgment and appellate review is sought and, on such review, such Judgment is not affirmed in
28

                                                   31
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 33 of 134


 1
     its entirety, Defendants shall, at their sole discretion, have the option to rescind, cancel, and
 2
     terminate this Settlement Agreement (excepting Paragraphs 35, 39-41, 45, and 61 hereof).
 3
            35.    Effect of Termination. In any event that this Agreement is terminated, this
 4
     Agreement in its entirety shall be void and shall have no force or effect and shall be without
 5
     prejudice to the rights and contentions of Releasees and Releasors in this or any other litigation.
 6
     Any amounts expended for Notice and Administrative Costs and Injunctive Notice Costs are
 7
     not recoverable if this settlement does not become final or is terminated.
 8
            36.    Objections. Class Members who wish to object to any aspect of the settlement
 9
     contained in this Settlement Agreement must file with the Court a written statement containing
10
     a description of the basis for their objection by the end of the period to object to the settlement
11
     that will be set by the Court.
12
            37.    Exclusions. Any Class Member who wishes to opt out of the Damages Settlement
13
     Classes must do so on or before the exclusion/objection deadline specified in the notice to Class
14
     Members (the “Exclusion/Objection Deadline”).
15
               (a) In order to become an Opt-Out, a Class Member must complete and send to the
16
                   Notice and Claims Administrator a request for exclusion that is post-marked no
17
                   later than the Exclusion/Objection Deadline. The request for exclusion must
18
                   include any information specified in the notices to the Classes. Opt-Outs may opt
19
                   out of the Class only on an individual basis; so-called “mass” or “class” opt-outs
20
                   shall not be allowed and shall be of no force or effect.
21
               (b) Class Counsel shall cause copies of requests for exclusion from the Classes to be
22
                   provided to Defendants’ counsel. No later than fourteen (14) days after the
23
                   Exclusion/Objection Deadline, Class Counsel shall provide to Defendants’
24
                   counsel a complete and final list of Opt-Outs. With the motion for final approval
25
                   of the settlement, Class Counsel will file with the Court a complete list of Opt-
26
                   Outs, including the name, city, and state of the person requesting exclusion and
27
                   the college or university he or she attended (the “Opt-Out List”). With respect to
28

                                                    32
                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW              Document 535-2      Filed 09/26/24      Page 34 of 134


 1
                   any Opt-Outs, Defendants reserve all of their legal rights and defenses, including,
 2
                   but not limited to, any defenses relating to whether the person qualifies as a Class
 3
                   Member and/or has standing to bring any claim.
 4
               (c) Defendants shall have the option to terminate this Agreement if the number of
 5
                   Opt-Outs equals or exceeds                           of the total combined number
 6
                   of Class Members and Opt-Outs. After meeting and conferring with Class
 7
                   Counsel, Defendants may elect to terminate this Agreement by serving written
 8
                   notice on Class Counsel by email and overnight courier and by filing a copy of
 9
                   such notice with the Court no later than thirty (30) days before the date for the
10
                   final approval hearing of this Agreement, except that Defendants shall have a
11
                   minimum of ten (10) days in which to decide whether to terminate this Agreement
12
                   after receiving the final Opt-Out List.
13
            38.    Termination Consequences. Unless otherwise ordered by the Court, in the event
14
     that the Effective Date does not occur or this Agreement should terminate, or be cancelled, or
15
     otherwise fail to become effective for any reason, including, without limitation, in the event that
16
     Defendants elect to terminate this Agreement pursuant to Paragraphs 33-34:
17
               (a) the Parties shall be restored to their respective positions in the Action as of the
18
                   Execution Date, with all of their respective claims and defenses preserved as they
19
                   existed on that date;
20
               (b) the Escrow Agent shall, within ten (10) business days of termination of the
21
                   Settlement Agreement, refund all amounts in the Escrow Account, less any
22
                   expenditures authorized pursuant to Paragraphs 4-5 of this Settlement Agreement
23
                   that were incurred prior to termination, to Defendants and the Escrow Account
24
                   shall be closed;
25
               (c) the terms and provisions of this Agreement, with the exception of Paragraphs 35
26
                   39-41, 45, and 61 (which shall continue in full force and effect), shall be null and
27
                   void and shall have no further force or effect with respect to the Parties, and
28

                                                   33
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 35 of 134


 1
                   neither the existence nor the terms of this Agreement (nor any negotiations
 2
                   preceding this Agreement nor any acts performed pursuant to, or in furtherance
 3
                   of, this Agreement) shall be used in the Action or in any other action or proceeding
 4
                   for any purpose (other than to enforce the terms remaining in effect);
 5
                (d) any judgment or order entered by the Court in accordance with the terms of this
 6
                   Agreement shall be treated as vacated, nunc pro tunc; and
 7
                (e) the Court shall set a new schedule for the Action.
 8
           H.      No Admission of Liability
 9
            39.    Final and Complete Resolution. The Parties intend the settlement as described
10
     in this Settlement Agreement to be a final and complete resolution of all disputes between them
11
     with respect to the Action and Released Claims and to compromise claims that are contested,
12
     and it shall not be deemed an admission by any Party as to the merits of any claim or defense
13
     or any allegation made in the Action. Without limiting the foregoing, for the avoidance of
14
     doubt, Defendants deny any liability in connection with Plaintiffs’ claims in the Action and this
15
     Agreement may not be construed to be an admission of liability or wrongdoing by Defendants
16
     in this Action or any other action or proceeding.
17
            40.    Federal Rule of Evidence 408. The Parties agree that this Agreement, its terms
18
     and the negotiations surrounding this Agreement and any earlier agreements between the Parties
19
     shall be governed by Federal Rule of Evidence 408 and shall not be admissible or offered or
20
     received into evidence in any suit, action, or other proceeding, except upon the written
21
     agreement of the Parties hereto, pursuant to an order of a court of competent jurisdiction, or as
22
     shall be necessary to give effect to, declare, or enforce the rights of the Parties with respect to
23
     any provision of this Agreement.
24
            41.    Use of Agreement as Evidence. Neither this Agreement, nor negotiations related
25
     thereto, nor any act performed or document executed pursuant to or in furtherance of this
26
     Agreement: (a) is or may be deemed to be or may be used as an admission of, or evidence of,
27
     the validity of any Released Claims, any allegation made in the Action, or any wrongdoing or
28

                                                   34
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 36 of 134


 1
     liability of the Defendants; or (b) is or may be deemed to be or may be used as an admission of,
 2
     or evidence of, any liability, fault, or omission of the Releasees in any civil, criminal, or
 3
     administrative proceeding in any court, administrative agency, or other tribunal. Neither this
 4
     Agreement, nor negotiations related thereto, nor any act performed or document executed
 5
     pursuant to or in furtherance of this Agreement, shall be admissible in any proceeding for any
 6
     purpose, except as to enforce the terms of this Agreement, and except that the Releasees may
 7
     file this Agreement and/or the Judgment in any action for any purpose, including, but not limited
 8
     to, in order to support a defense or counterclaim based on principles of res judicata, collateral
 9
     estoppel, release, good faith settlement, judgment bar or reduction or any other theory of claim
10
     preclusion or issue preclusion or similar defense or counterclaim, and/or to seek the transfer to
11
     this Court of, or enjoin, any action purporting to assert any Released Claims. The limitations
12
     described in this paragraph apply whether or not the Court enters the Preliminary Approval
13
     Order, the Final Approval Order, or the Judgment.
14
           I.      Miscellaneous Provisions
15
            42.    Modifications. Absent materially changed circumstances (for example, without
16
     limitation, Paragraph 37(c)), Plaintiffs (including any new named plaintiffs) and Defendants
17
     agree not to seek to modify the settlement structure for the duration of the Injunctive Relief
18
     Settlement Term.
19
            43.    Voluntary Settlement. The Parties agree that the terms of the settlement as
20
     described in this Agreement were negotiated in good faith by the Parties under the supervision
21
     of an experienced mediator and reflect a settlement that was reached voluntarily after
22
     consultation with competent legal counsel.
23
            44.    Consent to Jurisdiction. Defendants, Plaintiffs, and each Class Member hereby
24
     irrevocably submit to the exclusive jurisdiction of the Court only for the specific purpose of any
25
     suit, action, proceeding, or dispute arising out of or relating to this Agreement or the
26
     applicability of this Agreement. Solely for purposes of such suit, action, or proceeding, to the
27
     fullest extent that they may effectively do so under applicable law, Defendants, Plaintiffs, and
28

                                                   35
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2          Filed 09/26/24      Page 37 of 134


 1
     the Class Members irrevocably waive and agree not to assert, by way of motion, as a defense or
 2
     otherwise, any claim or objection that they are not subject to the jurisdiction of the Court or that
 3
     the Court is in any way an improper venue or an inconvenient forum. Without limiting the
 4
     generality of the foregoing, it is hereby agreed that any dispute concerning the provisions of
 5
     Paragraphs 19-26 hereof, including but not limited to any suit, action, or proceeding in which
 6
     the provisions of Paragraphs 19-26 hereof are asserted as a defense in whole or in part to any
 7
     claim or cause of action or otherwise raised as an objection, constitutes a suit, action or
 8
     proceeding arising out of or relating to this Agreement. In the event that the provisions of
 9
     Paragraphs 19-26 hereof are asserted by any Releasee as a defense in whole or in part to any
10
     claim or cause of action or otherwise raised as an objection in any suit, action, or proceeding, it
11
     is hereby agreed that such Releasee shall be entitled to a stay of that suit, action, or proceeding
12
     until the Court has entered a judgment no longer subject to any appeal or review determining
13
     any issues relating to the defense or objection based on the provisions of Paragraphs 19-26.
14
     Nothing herein shall be construed as a submission to jurisdiction for any purpose other than any
15
     suit, action, proceeding, or dispute arising out of or relating to this Agreement or the
16
     applicability of this Agreement.
17
            45.    Resolution of Disputes; Retention of Exclusive Jurisdiction. Any disputes
18
     between or among Defendants and Plaintiffs or any Class Members concerning matters
19
     contained in this Agreement shall, if they cannot be resolved by negotiation and agreement, be
20
     submitted to the Court. The Court shall retain jurisdiction to resolve all disputes that may arise
21
     concerning compliance with, the validity of, interpretation, or enforcement of the terms and
22
     conditions of the settlement, including through appointment of a special master whose decisions
23
     shall be appealable to the Court. All such claims asserted on behalf of student-athletes shall be
24
     prosecuted exclusively by Class Counsel except as expressly provided herein.
25
            46.    Future Division I Student-Athlete Proceedings. Any and all claims by any
26
     Division I student-athlete seeking to challenge the structure or otherwise modify the Injunctive
27
     Relief Settlement, or alleging antitrust or other violations of law based on Defendant’s
28

                                                    36
                               STIPULATION AND SETTLEMENT AGREEMENT
                                         Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 38 of 134


 1
     implementation of the Injunctive Relief Settlement, must, to the fullest extent legally
 2
     permissible, be asserted exclusively in the Action. All Division I student-athletes during the
 3
     Injunctive Relief Settlement Term will receive notice of this settlement and their rights under it
 4
     in a form approved by Class Counsel and the Court. If and to the extent any new claim against
 5
     Defendants for complying with the terms of the Injunctive Relief Settlement is asserted by a
 6
     Division I student-athlete in any venue other than the U.S. District Court for the Northern
 7
     District of California seeking to invalidate or recover damages based upon Defendant’s
 8
     implementation of the Injunctive Relief Settlement, the Parties shall join in appropriate filings
 9
     to have the new claim enjoined (or, should an injunction be unavailable, stayed and transferred
10
     to the Northern District of California) for consolidation with the Action for all purposes.
11
            47.    Other Litigations. The Parties shall work cooperatively to ensure that the claims
12
     raised in any other lawsuits that have been or may be brought challenging NCAA compensation
13
     or benefit rules addressed by this Settlement Agreement are enjoined (or, should an injunction
14
     be unavailable, stayed) pending final approval of this Settlement Agreement.
15
            48.    Class Counsel Enforcement.          Class Counsel shall have the authority to
16
     exclusively monitor and enforce the Injunctive Relief Settlement throughout the Term as
17
     provided therein.
18
            49.    Binding Effect. This Agreement shall be binding upon and shall inure to the
19
     benefit of the Parties hereto and their heirs, executors, administrators, representatives, agents,
20
     successors, and assigns and any corporation into or with which any corporate party hereto may
21
     merge or consolidate. Without limiting the generality of the foregoing, each and every covenant
22
     and agreement herein by Plaintiffs and Class Counsel shall be binding upon all Class Members.
23
            50.    Intended Beneficiaries.      No provision of this Settlement Agreement shall
24
     provide any rights to, or be enforceable by, any person or entity that is not a Plaintiff, Class
25
     Member, a Releasee, or Class Counsel. No Plaintiff, Class Member, Defendant, or Class
26
     Counsel may assign or otherwise convey any right to enforce any provision of this Settlement
27
     Agreement.
28

                                                   37
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24     Page 39 of 134


 1
            51.    Authorization to Enter Agreement. Each of the undersigned representatives of
 2
     Defendants represents that he or she is fully authorized to enter into and to execute this
 3
     Agreement on behalf of each respective Defendant. Class Counsel, on behalf of Plaintiffs and
 4
     the Classes, represent that they are, subject to Court approval, expressly authorized to take all
 5
     action required or permitted to be taken by or on behalf of the Classes pursuant to this
 6
     Agreement to effectuate its terms and to enter into and execute this Agreement and any
 7
     modifications or amendments to the Agreement on behalf of Plaintiffs and the Classes that they
 8
     deem appropriate.
 9
            52.    No Conflict Intended. Any inconsistency between this Settlement Agreement
10
     and the Appendices attached hereto shall be resolved in favor of this Settlement Agreement.
11
     The headings used in this Agreement are intended for the convenience of the reader only and
12
     shall not affect the meaning or interpretation of this Agreement.
13
            53.    Mutual Drafting. None of the parties hereto shall be deemed to be the drafter of
14
     this Agreement or any provision hereof for the purpose of any statute, case law, rule of
15
     interpretation or construction that would or might cause any provision to be construed against
16
     the drafter hereof.
17
            54.    Governing Law. This Agreement shall be considered to have been negotiated,
18
     executed and delivered, and to be wholly performed, under federal common law, and the rights
19
     and obligations of the parties to this Agreement shall be construed and enforced in accordance
20
     with, and governed by, federal common law.
21
            55.    Amendment; Waiver. This Agreement shall not be modified in any respect
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     except by a writing executed by all of the Defendants and Class Counsel and approved by the
23
     Court, and the waiver of any rights conferred hereunder shall be effective only if made by
24
     written instrument of the waiving party. The waiver by any party of any breach of this
25
     Agreement shall not be deemed or construed as a waiver of any other breach, whether prior,
26
     subsequent, or contemporaneous, of this Agreement.
27
            56.    Integrated Agreement.        This Settlement Agreement (and its appendices)
28

                                                   38
                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 40 of 134


 1
     contains an entire, complete, and integrated statement of each and every term and provision
 2
     agreed to by the Parties hereto, and is not subject to any condition not provided for herein. This
 3
     Settlement Agreement supersedes any and all prior and contemporaneous undertakings of
 4
     Plaintiffs and Defendants in connection herewith. The Class Members, Class Counsel, and
 5
     Defendants, or any of them, may hereafter discover facts other than or different from those that
 6
     he, she, they, or it knows or believes to be true with respect to the subject matter of this
 7
     settlement, but the subsequent discovery or existence of such different or additional facts shall
 8
     have no bearing on the validity of this Settlement Agreement once executed and shall not serve
 9
     as a basis for any Party to challenge or otherwise seek to rescind, terminate, or cancel the
10
     settlement.
11
            57.    Execution in Counterparts. This Agreement may be executed in one or more
12
     counterparts. All executed counterparts and each of them shall be deemed to be one and the
13
     same instrument. Counsel for the Parties to this Agreement shall exchange among themselves
14
     signed counterparts and a complete set of executed counterparts shall be filed with the Court.
15
            58.    Appendices. All of the appendices hereto are an integral part of this Agreement
16
     and of the agreement of the Parties thereto.
17
            59.    Public Disclosure. Except for disclosure required by law, the Parties will consult
18
     with each other with a view towards coordinating the timing of any public disclosure concerning
19
     the fact that this Settlement Agreement has been reached or the terms of this Agreement.
20
            60.    Notices. All notices under this Agreement shall be in writing. Each such notice
21
     shall be given either by (a) e-mail; (b) hand delivery; (c) registered or certified mail, return
22
     receipt requested, postage pre-paid; (d) FedEx or similar overnight courier; or (e) facsimile and
23
     first class mail, postage pre-paid and, if directed to any Class Member, shall be addressed to
24
     Class Counsel at their addresses set forth below, and if directed to Defendants, shall be
25
     addressed to their attorneys at the addresses set forth below or such other addresses as Class
26
     Counsel or Defendants may designate, from time to time, by giving notice to all parties hereto
27
     in the manner described in this paragraph.
28

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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW         Document 535-2     Filed 09/26/24        Page 41 of 134


 1
        If to Class Counsel, address notice to:
 2
               Steve W. Berman
 3             HAGENS BERMAN SOBOL SHAPIRO LLP
 4             1301 Second Avenue, Suite 2000
               Seattle, WA, 98101
 5             steve@hbslaw.com

 6             Jeffrey L. Kessler
               David Greenspan
 7             WINSTON & STRAWN LLP
 8             200 Park Avenue
               New York, NY 10166-4193
 9             jkessler@winston.com
               dgreenspan@winston.com
10

11      If to Defendants, address notice to:
12
               National Collegiate Athletic Association
13             Scott Bearby
               Senior Vice President of Legal Affairs and General Counsel
14             1802 Alonzo Watford St. Drive
               Indianapolis, IN 46202
15             sbearby@ncaa.org
16
               With a copy to:
17
               Rakesh N. Kilaru
18             WILKINSON STEKLOFF LLP
               2001 M Street NW, 10th Floor
19             Washington, DC 20036
               rkilaru@wilkinsonstekloff.com
20

21             Atlantic Coast Conference
               c/o Pearlynn G. Houck
22             General Counsel
               620 South Tryon Street, Suite1200
23             Charlotte, NC 28202
               phouck@theacc.org
24

25             With a copy to:

26             Christopher S. Yates
               LATHAM & WATKINS LLP
27             505 Montgomery Street, Suite 2000
               San Francisco, CA 94111
28             chris.yates@lw.com
                                              40
                         STIPULATION AND SETTLEMENT AGREEMENT
                                   Case No. 4:20-CV-03919
     Case 4:20-cv-03919-CW      Document 535-2         Filed 09/26/24   Page 42 of 134


 1
              The Big Ten Conference, Inc.
 2            c/o Anil Gollahalli
 3            Chief Legal Officer & General Counsel
              5440 Park Place
 4            Rosemont, IL 60018
              agollahalli@bigten.org
 5
              With a copy to:
 6

 7            Britt M. Miller
              MAYER BROWN LLP
 8            71 South Wacker Drive
              Chicago, IL 60606
 9            bmiller@mayerbrown.com
10            The Big 12 Conference, Inc.
11            c/o Jessica Presnall
              Chief Legal & Business Affairs Officer
12            400 East John Carpenter Freeway
              Irving, TX 75062
13            jpresnall@big12sports.com
14            With a copy to:
15
              Angela Zambrano and Natali Wyson
16            SIDLEY AUSTIN LLP
              2021 McKinney Ave.
17            Suite 2000
              Dallas, TX 75201
18            angela.zambrano@sidley.com
19            nwyson@sidley.com

20            Pac-12 Conference
              c/o Scott Petersmeyer
21            General Counsel, SVP
              12647 Alcosta Blvd., 5th Floor
22
              San Ramon, CA 94583
23            SPetersmeyer@pac-12.org

24            With a copy to:

25            Whitty Somvichian
              COOLEY LLP
26            3 Embarcadero Center, 20th Floor
27            San Francisco, California 94111-4004
              wsomvichian@cooley.com
28

                                            41
                       STIPULATION AND SETTLEMENT AGREEMENT
                                 Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW          Document 535-2        Filed 09/26/24      Page 43 of 134


 1                  Southeastern Conference
                    c/o William H. King, III
 2                  Associate Commissioner/Legal Affairs & Compliance
 3                  2201 Richard Arrington Boulevard North
                    Birmingham, AL 35203
 4                  wking@sec.org

 5                  With a copy to:
 6                  Robert W. Fuller, III
 7                  ROBINSON BRADSHAW & HINSON, P.A.
                    101 N. Tryon Street, Suite 1900
 8                  Charlotte, NC 28246
                    rfuller@robinsonbradshaw.com
 9
                          – and –
10

11                  Katie A. Reilly
                    WHEELER TRIGG O’DONNELL LLP
12                  370 Seventeenth Street, Suite 4500
                    Denver, CO 80202
13                  reilly@wtotrial.com
14
     or to such other persons or addresses as the Parties hereto may designate in writing.
15
            61.    Confidential Materials. The Parties agree to comply with Paragraphs 19-20 of
16
     Exhibit A to the Protective Order entered in the Action (see ECF No. 136) at the conclusion of
17
     the Action.
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                              STIPULATION AND SETTLEMENT AGREEMENT
                                        Case No. 4:20-CV-03919
        Case 4:20-cv-03919-CW         Document 535-2       Filed 09/26/24      Page 44 of 134


 1
            IN WITNESS WHEREOF, the parties hereto, through their fully authorized
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     representatives, have executed this Agreement as of the Execution Date.
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                             STIPULATION AND SETTLEMENT AGREEMENT
                                       Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW         Document 535-2     Filed 09/26/24      Page 45 of 134


 1                                          PLAINTIFFS’ CLASS COUNSEL, on behalf of
                                            Plaintiffs individually and on behalf of the Classes
 2
     DATED: JulySeptember 26, 2024                 HAGENS BERMAN SOBOL SHAPIRO
 3
     LLP
 4

 5                                          By: __________________________________
                                            Steve W. Berman
 6
                                            Steve W. Berman (pro hac vice)
 7                                          HAGENS BERMAN SOBOL SHAPIRO LLP
 8                                          1301 Second Avenue, Suite 2000
                                            steve@hbsslaw.com
 9

10
     DATED: JulySeptember 26, 2024                 WINSTON & STRAWN LLP
11

12
                                            By: __________________________________
13                                          Jeffrey L. Kessler

14                                          Jeffrey L. Kessler (pro hac vice)
                                            David Greenspan (pro hac vice)
15                                          David G. Feher (pro hac vice)
                                            Adam I. Dale (pro hac vice)
16
                                            200 Park Avenue
17                                          New York, NY 10166-4193
                                            Telephone: 212-294-6700
18                                          Facsimile:     212-294-4700
                                            jkessler@winston.com
19                                          dgreenspan@winston.com
                                            dfeher@winston.com
20
                                            aidale@winston.com
21
                                            Jeanifer Parsigian
22                                          WINSTON & STRAWN LLP
                                            101 California Street, 34th Floor
23                                          San Francisco, CA 94111
                                            Telephone: (415) 591-1000
24                                          Facsimile: (415) 591-1400
                                            jparsigian@winston.com
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                                               44
                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2    Filed 09/26/24    Page 46 of 134


 1
                                         DEFENDANT NATIONAL COLLEGIATE
 2                                       ATHLETIC ASSOCIATION
 3
     DATED: JulySeptember 26, 2024
 4

 5                                       By: ___________________________________
                                         Rakesh N. Kilaru (pro hac vice)
 6

 7                                       Rakesh Kilaru
                                         Cali Arat
 8                                       WILKINSON STEKLOFF LLP
                                         2001 M Street NW, 10th Floor
 9                                       Washington, DC 20036
                                         rkilaru@wilkinsonstekloff.com
10
                                         carat@wilkinsonstekloff.com
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                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2   Filed 09/26/24   Page 47 of 134


 1                                       DEFENDANT ATLANTIC COAST
                                         CONFERENCE
 2

 3
     DATED: JulySeptember 26, 2024
 4

 5                                       By: ___________________________________
                                         Christopher S. Yates (SBN 161273)
 6                                       LATHAM & WATKINS LLP
 7                                       505 Montgomery Street, Suite 2000
                                         San Francisco, CA 94111
 8                                       chris.yates@lw.com

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                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2   Filed 09/26/24   Page 48 of 134


 1                                       DEFENDANT THE BIG TEN CONFERENCE,
                                         INC.
 2

 3   DATED: JulySeptember 26, 2024

 4
                                         By: ___________________________________
 5                                       Britt M. Miller (pro hac vice)
                                         MAYER BROWN LLP
 6                                       71 South Wacker Drive
 7                                       Chicago, IL 60606
                                         bmiller@mayerbrown.com
 8

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                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2     Filed 09/26/24   Page 49 of 134


 1                                       DEFENDANT THE BIG 12 CONFERENCE,
                                         INC.
 2

 3   DATED: JulySeptember 26, 2024

 4
                                         By: ___________________________________
 5                                       Natali Wyson
 6                                       Angela Zambrano (pro hac vice)
 7                                       Natali Wyson (pro hac vice)
                                         SIDLEY AUSTIN LLP
 8                                       2021 McKinney Ave.
                                         Suite 2000
 9                                       Dallas, TX 75201
                                         angela.zambrano@sidley.com
10
                                         nwyson@sidley.com
11

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                                               48
                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2   Filed 09/26/24   Page 50 of 134


 1                                       DEFENDANT PAC-12 CONFERENCE
 2   DATED: JulySeptember 26, 2024
 3

 4                                       By: ___________________________________
                                         Whitty Somvichian (SBN 194463)
 5                                       COOLEY LLP
                                         3 Embarcadero Center, 20th Floor
 6                                       San Francisco, California 94111-4004
 7                                       wsomvichian@cooley.com

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                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
       Case 4:20-cv-03919-CW     Document 535-2    Filed 09/26/24   Page 51 of 134


 1                                       DEFENDANT SOUTHEASTERN
                                         CONFERENCE
 2

 3   DATED: JulySeptember 26, 2024

 4
                                         By: ___________________________________
 5                                       Robert W. Fuller, III
 6                                       Robert W. Fuller III (pro hac vice)
 7                                       ROBINSON BRADSHAW & HINSON, P.A.
                                         101 N. Tryon Street, Suite 1900
 8                                       Charlotte, NC 28246
                                         rfuller@robinsonbradshaw.com
 9
                                         Katie A. Reilly
10
                                         WHEELER TRIGG O’DONNELL LLP
11                                       370 Seventeenth Street, Suite 4500
                                         Denver, CO 80202
12                                       reilly@wtotrial.com

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                          STIPULATION AND SETTLEMENT AGREEMENT
                                    Case No. 4:20-CV-03919
         Case 4:20-cv-03919-CW          Document 535-2   Filed 09/26/24   Page 52 of 134



 1
                                UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        (OAKLAND DIVISION)
 4

 5

 6   In re: College Athlete NIL Litigation           No. 4:20-CV-03919 (N.D. Cal)
 7                                                   AMENDED INJUNCTIVE RELIEF
                                                     SETTLEMENT
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                                  APPENDIX A
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                               AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                      Case NosNo. 4:20-CV-03919
    Case 4:20-cv-03919-CW               Document 535-2     Filed 09/26/24      Page 53 of 134




                                             ARTICLE 1

                                            DEFINITIONS

       Section 1.      As used in this Injunctive Relief Settlement, the following terms shall have

the following meanings unless expressly stated otherwise:

       (a)    “Academic Year” means July 1 of any given calendar year during the Term through

and including June 30 of the following calendar year.

       (b)    “Action” means In re: College Athlete NIL Litigation, Case No. 4:20-CV-03919

(N.D. Cal).

       (c)    “Booster” means “representative of athletics interests,” as defined in NCAA
Bylaws 8.4.2, 13.02.16, and 13.02.16.1.“Associated Entity or Individual” means:

              a. An entity that is or was known (or should have been known) to the athletics

                    department staff of a Member Institution, to exist, in significant part, for the

                    purpose of (i) promoting or supporting a particular Member Institution’s

                    intercollegiate athletics program or student-athletes; and/or (2) creating or

                    identifying NIL opportunities solely for a particular Member Institution’s

                    student-athletes;

              b. An individual who is or was a member, employee, director, officer, owner, or

                    agent of an entity described in Section 1(c)(a) above;

              c. An individual who directly or indirectly (including contributions by an

                    affiliated entity or family member) has contributed more than $50,000 over

                    their lifetime to a particular Member Institution or to an entity described in

                    Section 1(c)(a) above;

              d. An individual or entity that (1) has been directed or requested by a Member

                    Institution’s athletics department staff to assist in the recruitment or retention

                    of prospective or current student-athletes, or (2) otherwise has assisted in the

                                                  2
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                    Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2          Filed 09/26/24    Page 54 of 134




                   recruitment or retention of prospective or current student-athletes; or

                a.e. Any entity owned, controlled, or operated by, or otherwise affiliated with, the

                   individuals or entities described in Section 1(c)(a)-(d) above other than a

                   publicly traded corporation.

       (c)(d) “Class Counsel” means the law firms of Winston & Strawn LLP and Hagens

Berman Sobol Shapiro LLP, with Steve Berman and Jeffrey Kessler as co-lead Class Counsel, or

such other counsel as may be appointed by the Court during the Term of the Injunctive Relief

Settlement.

       (d)(e) “Conference Defendant” means individually each of the Atlantic Coast Conference
(the “ACC”), The Big Ten Conference, Inc. (the “Big Ten”), The Big 12 Conference, Inc. (the

“Big 12”), the Pac-12 Conference (the “Pac-12”), and the Southeastern Conference (the “SEC”);

collectively the foregoing are referred to as “Conference Defendants”.

       (e)(f) “Court” means the United States District Court for the Northern District of

California.

       (f)(g) “Defendants” means, collectively, the NCAA, the ACC, the Big Ten, the Big 12,

the Pac-12, and the SEC.

       (g)(h) “Designated Enforcement Entity” means the NCAA and/or such other entit(ies) as

may be designated by the Conference Defendants that is responsible for rule-enforcement activities

set forth in and permitted by this Injunctive Relief Settlement and the SSA, including but not

limited to investigating alleged violations and serving as the party seeking enforcement in any

arbitration that occurs pursuant to Article 6, Section 2.

       (h)(i) “Designated Reporting Entity” means the entit(ies) designated by Defendants to

receive the information described in Article 2, Sections 4 and 5.

       (i)(j)   “Final Approval” means when the Court issues an order finally approving the

Stipulation and Settlement Agreement and has entered judgment in accordance with its terms but

does not include any appeals periods or appeals of that judgment.
                                                  3
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 55 of 134




        (j)(k) “Injunctive Relief Settlement” means this Appendix A to the SSA.

        (k)(l) “Member Institution” means any college, school, or university that is a member in

any sport of NCAA Division I and/or a Conference Defendant, together with any entity owned,

controlled, funded, or operated by said college, school, or university (or any division or department

thereof).

        (l)(m) “NIL” or “name, image and likeness” means a person’s name, nickname(s), picture,

portrait, likeness, signature, voice, caricature, identifying biographical information, or other

identifiable features.

        (m)(n) “Non-Defendant Conferences” means all NCAA Division I conferences that are not
named as Conference Defendants.

        (n)(o) “Non-Defendant Conference Member Institutions” means all NCAA Division I

Member Institutions that are not members of any Conference Defendant.

        (o)(p) “Pool” means the benefits pool as described in Article 3.

        (p)(q) “Membership Financial Reporting System Reports” or “MFRS” means the annual

financial data reported by NCAA members pursuant to NCAA Constitution, Article 2(D)(1)(c), in

the form currently reported or as otherwise expressly permitted by this Injunctive Relief

Settlement.

        (q)(r) “NCAA” means the National Collegiate Athletic Association.

        (r)(s) “Shared Revenue” has the meaning as described in Article 3.

        (s)(t) “Stipulation and Settlement Agreement” or “SSA” means the Stipulation and

Settlement Agreement to which this Injunctive Relief Settlement is attached as Appendix A,

entered into as of JulySeptember 26, 2024, by and between Plaintiffs, both individually and on

behalf of the Classes, and Defendants, in In re: College Athlete NIL Litigation, Case No. 4:2020-

CV-03919 (N.D. Cal).

        (t)(u) “Term” means ten (10) Academic Years after the date of Final Approval of the SSA

by the Court.
                                                 4
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW         Document 535-2       Filed 09/26/24     Page 56 of 134




       Section 2. Further Definitions. In addition to the foregoing, any capitalized terms

otherwise defined in the SSA shall have the same meaning as described therein.




                                               5
                         AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                 Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 57 of 134




                                           ARTICLE 2

                  PAYMENTS TO STUDENT ATHLETES & REPORTING

       Section 1. Payment Rules. Defendants shall change all NCAA Division I and Conference

Defendant rules to permit payments to student-athletes contemplated by the terms of this Injunctive

Relief Settlement. For avoidance of doubt, payments that are not contemplated by this Injunctive

Relief Settlement (e.g., any payment to a student-athlete that, when aggregated with other

payments above those permitted by NCAA Division I rules as of the date of the motion for

preliminary approval, would result in a Member Institution exceeding the Pool defined below)

remain prohibited.

       Section 2. Member Institution Payments for NIL, Institutional Brand Promotion, or

Other Rights. Each Member Institution, and each student-athlete, will have the right to enter into

an exclusive or non-exclusive license and/or endorsement agreement for that student-athlete’s NIL,

institutional brand promotion, or other rights as permitted by this Injunctive Relief Settlement,

provided, however, that no such licenses or agreements shall authorize payments for the right to use

a student-athlete’s NIL for a broadcast of collegiate athletic games or competitive athletic events. In

addition the Member Institution or a designee/subcontractor of the Member Institution (e.g., a local

rights holder) may act as the marketing agent for the student-athlete with respect to third-party NIL

contracts; provided, however, that a parent, guardian, lawyer, or other competent representative may

assist the student-athlete in discussions regarding entering into an exclusive or non-exclusive license

or endorsement agreement, unless the student-athlete waives in writing the assistance of a parent,

guardian, lawyer, or other competent representative.

       Neither Defendants nor their Member Institutions may enter into any NIL agreement

including but not limited to any licensing, institutional brand promotion, or endorsement agreement

with a prospective or enrolled student-athlete for a term that extends beyond his or her eligibility to

participate in NCAA sports; provided, however, that if a Defendant or a Member Institution has

                                                 6
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 58 of 134




licensed the rights to use the NIL of a student-athlete to promote the Defendant or the Member

Institution’s academic or athletic program in content created while the student-athlete is enrolled,

such licensee shall not be required to discontinue use of such content, if and as permitted by the

agreement with the student-athlete, after that student-athlete’s eligibility has expired. For avoidance

of doubt, such licensee shall not be permitted by the prior sentence, after the student-athlete’s

eligibility has expired, to sell goods and services incorporating the NIL of the student-athlete, or to

continue (or continue to authorize) use of the NIL of such student-athlete to promote the goods or

services of a third party.

        Section 3. Third Party NIL Payments. The NCAA shall not have any Division I rules

prohibiting student-athletes from receiving payments from third parties for NIL, other than as set

forth in this Injunctive Relief Settlement. For the avoidance of doubt, entities or organizations that

are owned, controlled, or operated by Member Institutions and/or conferences are not third parties.

Subcontractors of a Member Institution will not be considered third parties in instances and to the

extent they are acting as an agent, facilitator, and/or administrator for a Member Institution

whereby they are making payments to student-athletes that originate from/are paid by a Member

Institution.

        Section 4. Mandatory Student-Athlete Reporting. All Division I student-athletes will

be required to report to (a) the Member Institution in which they are enrolled and/or (b) the

Designated Reporting Entity any and all third-party NIL contracts or payments with a total value

of six hundred dollars ($600.00) or more on a schedule to be determined by Defendants. If a

student-athlete enters into multiple NIL agreements or receives multiple NIL payments from the

same or substantially the same third parties including, by way of example, any affiliates or parties

with common ownership, such activities must be disclosed if the aggregate value is at or above six

hundred dollars ($600.00).



                                                  7
                             AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                     Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24      Page 59 of 134




       Section 5. Mandatory Member Institution Reporting. Each Conference Defendant

Member Institution will be required to report each NIL contract or payment reported to the

Conference Defendant Member Institution pursuant to Section 4 of this Article to the Designated

Reporting Entity on a schedule to be determined by Defendants, with Class Counsel also to receive

a copy of such reports. In addition, each Conference Defendant Member Institution also will be

required to report to the Designated Reporting Entity pursuant to Section 4 of this Article, on a

schedule to be determined by Defendants:

               i. any exclusive or non-exclusive license and/or endorsement agreement between

       a Conference Defendant Member Institution and a student-athlete for a student-athlete’s

       NIL, institutional brand promotion, or other rights including those in which a

       designee/subcontractor of the Conference Defendant Member Institution (e.g., a local

       rights holder) acts as an agent, facilitator, administrator, or in any other capacity for a

       Conference Defendant Member Institution whereby they are making payments to one or

       more student-athletes that originate from, are funded by, or are otherwise made on behalf

       of a Conference Defendant Member Institution; and,
               ii. any other payments or personal benefits (as detailed in Article 3, Section 3,

       Subsection (d)) that are provided to a student-athlete or the family of a student-athlete by a

       Conference Defendant Member Institution.

       Section 6. Non-Defendant Conference Member Institutions. All Non-Defendant

Conference Member Institutions that choose to provide or facilitate payments or benefits to

student-athletes as permitted by this Injunctive Relief Settlement including but not limited to

incremental scholarships permitted by Article 3, Section 3(b), shall be bound to the same extent as

Conference Defendant Member Institutions by all obligations, benefit limitations, and roster limits

set forth in this Injunctive Relief Settlement and as set by the NCAA in Appendix B to the SSA.

                                                 8
                          AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                  Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 60 of 134




                                               ARTICLE 3

                                           BENEFITS POOL

       Section 1. Benefits Pool. Current NCAA Division I and Conference Defendant rules will

be modified consistent with this Article to permit the following payments and benefits to Division I

student-athletes.

       (a)     Each Member Institution will be permitted, but not required, to distribute, each

Academic Year, additional payments and/or benefits to student-athletes over and above annual

existing scholarships and all other benefits currently permitted by NCAA rules as of the date of

the filing of the motion for final approval up to a certain amount (the “Pool”).

       (b)     The Pool will begin in the first Academic Year after Final Approval of the SSA.

       (c)     “Shared Revenue” for purposes of the Pool means, for each Member Institution,

revenue categories 1, 7, 11, 12, 13, 13A, 15, and 19 from the MFRS as currently detailed in

Appendix A of the NCAA 2024 Agreed-Upon Procedures (attached as Attachment 1), regardless

of whether a Member Institution owns or has legal title to those revenues. For purposes of this

Injunctive Relief Settlement, Category 1 (“Ticket Sales”) shall include actual monetary revenues

received by or for the benefit of Member Institutions for suite licenses exclusive of (a) any

associated philanthropy (Category 8) and (b) the use of suites for any purposes not related to

student athletic events (e.g., concerts). If any changes are made to the required reporting of

revenues in the NCAA Agreed Upon Procedures or the Membership Financial Reporting System,

the Parties shall work in good faith to ensure accurate reporting of the revenue categories that are

calculated to determine Shared Revenues and the Pool.

       (d)     “Average Shared Revenue” for purposes of the Pool shall be calculated as follows.

The Shared Revenue for all Conference Defendant Member Institutions, including Notre Dame,

from the most recent Membership Financial Reporting System Reports available shall be added

together. That total number will then be divided by the total number of Conference Defendant

                                                 9
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24     Page 61 of 134




Member Institutions plus Notre Dame. The resulting number will be the “Average Shared

Revenue.”

       (e)     In the first year in which the Pool is implemented, the Pool shall be twenty-two

percent (22%) of the Average Shared Revenue. The Pool will remain at 22% of Average Shared

Revenue throughout the Term.

       (f)     Except as set forth in subsection (h) below, the Average Shared Revenue will be

recalculated as set forth in subparagraph (d) above every three (3) years. In the second and third

years of each three-year period, the Average Shared Revenue shall increase by 4% over the

previous year’s amount, subject only to the two exceptions set forth in subsection (h), below.

       (g)     Accordingly, over the Term, and subject to only the two exceptions set forth in

subsection (h), below, the Pool shall be calculated as follows:

              Year 1     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 2     Year 1 amount x 1.04

              Year 3     Year 2 amount x 1.04

              Year 4     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 5     Year 4 amount x 1.04

              Year 6     Year 5 amount x 1.04

              Year 7     22% of Average Shared Revenue based on the most recent

                         Membership Financial Reporting System Reports available

              Year 8     Year 7 amount x 1.04


                                                10
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW             Document 535-2            Filed 09/26/24   Page 62 of 134




              Year 9       Year 8 amount x 1.04

              Year 10 22% of Average Shared Revenue based on the most recent

                           Membership Financial Reporting System Reports available

       (h)        The two, and only two, exceptions to the procedures set forth in subsections (a)-(g)

are as follows.

              i.     If, during the Term, any new broadcast agreement captured in the Media Rights

                     MFRS Category (#11) has a specific contractual provision setting a year-over-

                     year rights fee escalator greater than 4% that is not contingent on future events

                     at the time of resetting the Pool, in the second and/or third years of each three-

                     year period the average escalator across all of the broadcast agreements

                     captured in Media Rights shall be used for that revenue category in the

                     corresponding contract year(s) in lieu of the four percent (4%) growth rate for

                     that revenue category, provided that, in no circumstances, shall the escalator for

                     the Media Rights revenue category be less than four percent (4%) per year,

                     consistent with Article 3, Section 1(f).

             ii.     Class Counsel shall have two (2) opportunities within the term of the Injunctive

                     Relief Settlement to accelerate the re-calculation of the Pool based on the most

                     recent Membership Financial Reporting System Reports available. If Class

                     Counsel wishes to exercise their option, they must provide notice within thirty

                     (30) days of receipt of the Membership Financial Reporting System Reports. A

                     new three-year period shall commence in the first Academic Year after notice

                     of exercise of the option, with the Pool amount increasing by four percent (4%)

                     in the second and third years of such period. By way of example, if Class

                     Counsel elected to exercise these options in Years 3 and 8 of the Settlement,

                     the Pool would be calculated as follows over the Term:
                                                   11
                             AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                     Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW          Document 535-2        Filed 09/26/24      Page 63 of 134




             Year 1       22% of Average Shared Revenue based on the most recent

                          Membership Financial Reporting System Reports available

             Year 2       Year 1 amount x 1.04

             Year      3 22% of Average Shared Revenue based on the most recent

             (RESET) Membership Financial Reporting System Reports available

             Year 4       Year 3 amount x 1.04

             Year 5       Year 4 amount x 1.04

             Year 6       22% of Average Shared Revenue based on the most recent

                          Membership Financial Reporting System Reports available

             Year 7       Year 6 amount x 1.04

             Year      8 22% of Average Shared Revenue based on the most recent

             (RESET) Membership Financial Reporting System Reports available

             Year 9       Year 8 amount x 1.04

             Year 10      Year 9 amount x 1.04

       (i)     In the event that there is a nationwide force majeure event, such as the outbreak of

a virus, which requires the cancellation of games or the playing of games without fans in

attendance, the Parties shall negotiate in good faith as to whether a force majeure change in the

Pool calculation is warranted.

       Section 2. Institutional Decision-Making and Conference-Level Rules. Each of the

Member Institutions, subject to any independently set conference-level rules or guidelines (i.e.,

conference-level rules or guidelines imposed by a conference without agreement with the NCAA

or any other conferences), shall unilaterally decide/determine whether and how much of any


                                                 12
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW          Document 535-2        Filed 09/26/24      Page 64 of 134




benefits newly permitted by this Injunctive Relief Settlement to provide to any individual Division

I student-athlete (up to the Pool amount).

       Section 3. Counting Benefits Against the Pool. Any newly permitted amounts or

benefits provided to individual student-athletes by Member Institutions (directly, through an

exclusive or non-exclusive license between the student-athlete and the Member Institution (see

Article 2, Section 2), or otherwise)—shall count against the Pool except for proceeds from third-

party NIL sublicenses and arrangements as specified in subsection 3(c) of this Article. The

following provisions will govern the amounts of other new benefits that will count against the Pool

for the Member Institution providing such other benefits:
       (a)     Alston Awards. Alston academic and graduation incentive awards up to the annual

amount payable pursuant to the permanent injunction entered on March 8, 2019 in the matter

captioned In re: National Collegiate Athletic Association Athletic Grant-in-Aid Cap Antitrust

Litigation, Case No. 14-MD-2541 (N.D. Cal.) (“Alston case”) (currently $5,980 and as may be

adjusted in the future) (“Alston Awards”) will count against the Pool; the amount of such Alston

Awards that will count against the Pool will be capped at two million five hundred thousand dollars

($2,500,000.00, the “Alston Cap”) per Member Institution per year in recognition of institutions

that pay such awards to a larger number of student-athletes. In the event that the overall value of

the Pool has increased over the value of the Pool at the time of the immediately prior Pool

recalculation occurring after a three-year period (or earlier, on no more than two occasions, under

Article 3, Section 1(h)(ii)), the Alston Cap shall be increased for the following three-year period

by a proportional amount. There shall be no NCAA Division I limitation on how many students

at a school may be awarded an Alston Award. For the avoidance of doubt, nothing in this paragraph

requires a Member Institution to pay Alston Awards, but if the Member Institution chooses to do

so, this paragraph will govern how such awards are counted with regard to the Pool.
                                              13
                          AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                  Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2          Filed 09/26/24       Page 65 of 134




        (b)     New Athletic Scholarships. As a result of the elimination of scholarship limits (see

Article 4, Section 1), Member Institutions will have the option of making incremental athletic

scholarships available to student-athletes above the number currently permitted by NCAA

Division I rules for a particular sport, subject to the roster limits addressed in Article 4, Section 1.

The full cost-of-attendance dollar value of any new or incremental athletic scholarships—that were

not previously permitted by NCAA Division I rules—up to two million five hundred thousand

dollars ($2,500,000.00) (“the Athletic Scholarship Cap”) will count against the Pool (again, in

recognition of schools that award a greater number of athletic scholarships). For example, if a

school is currently offering 9 scholarships in baseball, versus the 11.7 permitted, and post-Final

Approval opts to award 15 scholarships in baseball, the number of new scholarships would be 3.3.

Each Member Institution shall certify to the Designated Enforcement Entity whether and to what

extent it has provided such new or incremental athletic scholarships. In the event that the overall

value of the Pool has increased over the value of the Pool at the time of the immediately prior

recalculation occurring after a three-year period (or earlier, on no more than two occasions, under

Article 3, Section 1(h)(ii)), the Athletic Scholarship Cap shall be increased for the following three-

year period by a proportional amount. Other than the roster limits discussed in Article 4, Section

1, there shall be no NCAA Division I limitation on how many new athletic scholarships may be

awarded by a school.

        (c)     Proceeds of Third-Party Arrangements. If a Member Institution contracts with

any individual student-athlete, directly or through a designee/subcontractor of the Member

Institution (e.g., a local rights holder), to act as marketing agent for that student-athlete (as opposed

to contracting with the student-athlete directly), third-party payments procured for the student-

athlete shall not be counted against the Pool. If the Member Institution elects to sub-license to a
                                                   14
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                    Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 66 of 134




third party any rights it has secured through a direct contract with any individual student-athlete,

the proceeds of third-party NIL licenses or sublicenses procured for the student-athlete by the

Member Institution or its designee/subcontractor for the student-athlete will not be counted against

the Pool, nor will any other third-party payments made directly to a student-athlete be counted

against the Pool.

       (d)     Other Personal Benefits. All payments to student-athletes (for NIL, institutional

brand promotion, or otherwise) and personal benefits (e.g., vehicles, travel expenses not permitted

as of the date of Preliminary Approval by NCAA Division I, and the like) that are provided to a

student-athlete or the family of a student-athlete by a Member Institution over and above the

payments and personal benefits permitted by the NCAA rules as of the day of Preliminary

Approval, shall be counted against the Pool. However, existing payments or benefits provided

through SAF or otherwise to student-athletes or other payments currently permitted by NCAA

Division I rules, including compensation or benefits related to education identified in Paragraph 2

of the Alston permanent injunction, dated March 8, 2019, shall not count against the Pool except

for Alston Awards up to the Alston Cap.

       (e)     NCAA Payments/Benefits. The value of any benefits or payments provided by the

NCAA itself directly to or for the benefit of student-athletes shall not count against the Pool.

       Section 4. Existing Benefits/Payments. Nothing in this Injunctive Relief Settlement will

limit, nor shall it be read to limit, the amount of existing benefits or payments currently permitted

by NCAA Division I rules to be provided to student-athletes by any Member Institution (except as

provided above with respect to payments and benefits counting against the Pool) and Defendants

agree that during the Term (including any extension thereof) but subject to the terms of Article 4,

Section 3, the NCAA will not create any rules imposing new restrictions on such existing benefits.
                                                 15
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24      Page 67 of 134




This provision does not, however, limit any Member Institution’s or any individual conference’s

ability, subject to Article 4 to independently elect to eliminate or reduce (a) any and all payments

or benefits currently provided to student-athletes at that Member Institution or that conference’s

Member Institutions or (b) any payments or benefits that may be provided in the future. For

avoidance of doubt, if a Non-Defendant Conference or a Non-Defendant Conference Member

Institution agrees to provide to student-athletes additional benefits permitted by NCAA Division I

rules prior to their modification as part of the Injunctive Relief Settlement (such as commencing

Alston payments for the first time), that will not trigger any reporting requirements pursuant to

Article 3, Section 5.

       Section 5. Pool Payments/Benefits Reporting. Within sixty (60) days after the close of

each Academic Year during the Term, Member Institutions shall provide information to the

Conference Defendants, or in the case of Member Institutions in Non-Defendant Conferences, to

the NCAA, sufficient to determine the total and types of payments/benefits the Member

Institutions have provided to student-athletes, including but not limited to new and incremental

scholarships and payments counting toward the Alston Cap, that have been counted against the

Pool in accordance with this Injunctive Relief Settlement. Conference Defendants and the NCAA

shall thereafter file a report with the Court and provide same to Class Counsel disclosing that

information.

       Section 6. Revenue Reporting & Audit Rights.

       (a)     Annual MFRS data shall be provided to Class Counsel (or such other

individuals/entity as Class Counsel may designate, in writing, during the Term) no later than May

15 of each year of the Injunctive Settlement unless good cause exists for delay. Class Counsel

shall have the right to reasonably audit such data in accordance with this Article 3, Section 6. The
                                                16
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24     Page 68 of 134




costs of any audit under this Article 6 shall be initially borne by Class Counsel, subject to Class

Counsel seeking reimbursement in accordance with the fee/cost provisions set forth in Paragraphs

27-30 of the SSA. The Parties agree that Defendants shall bear no liability for the accuracy or

completeness of information reported by the Member Institutions for inclusion in the MFRS data.

       (b)     Class Counsel shall have the right as part of their audit rights in the preceding

subsection to receive an accounting from an agreed-upon accounting firm of all revenue

categorized by the Member Institutions as Category 18 (“Other Operating Revenue”) so as to

determine whether, in Class Counsel’s opinion, any such reported revenue is more properly

reportable as one of the agreed-upon revenue categories and should therefore be included in the

Shared Revenue for purposes of the Pool. Any dispute arising over the proper treatment of such

revenues with respect to the Pool shall be resolved by the Court or a special master appointed by

the Court.

       (c)     Class Counsel shall also have the right to receive an accounting from an agreed-

upon accounting firm regarding whether any new broadcast agreement captured in MFRS

Category (#11) (Media Rights) has a specific contractual provision setting a year-over-year rights

fee escalator greater than 4% that is not contingent on future events such that the Pool growth rate

calculation for that revenue category is impacted, as described in Article 3, Section 1(h).

       (d)     The accounting firm shall also report on any changes in the definition of the revenue

categories of the MFRS Reports so as to allow Class Counsel the opportunity to confirm that there

has been no reclassification of the revenues currently included in the Pool calculation to excluded

revenue categories. If such reclassification occurs, the revenues shall be reallocated back to their

original categories (or otherwise included in the Pool calculation), with any dispute to be resolved

by the Court or a special master appointed by the Court.
                                                17
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW         Document 535-2       Filed 09/26/24     Page 69 of 134




       (e)     Any disputes between Class Counsel and the Defendants as to the proper

categorizations, reclassification, or reallocation of any revenue included in the Pool shall be

submitted to the Court, or a special master appointed by the Court, for resolution, pursuant to

Article 6, Section 1.




                                              18
                         AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                 Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24      Page 70 of 134




                                            ARTICLE 4

                              NCAA AND CONFERENCE RULES

       Section 1. Elimination of NCAA Division I Scholarship Limits. All NCAA Division I

athletic scholarship limits will be eliminated. The NCAA may adopt Division I roster limits which

are subject to revision by the Defendants as permitted by this Injunctive Relief Settlement.

Appendix B to the SSA sets forth the roster limits which the NCAA has currently chosen to adopt

that apply to Member Institutions that choose to provide or facilitate payments or benefits to

student-athletes as permitted by this Injunctive Relief Settlement, including but not limited to

incremental scholarships permitted by Article 3, Section 3(b). All athletic scholarships will be

equivalency awards. Defendants agree that any changes to NCAA Division I or conference rules

on roster limits shall not result in the loss of an athletic scholarship for any then-current student-

athlete receiving an athletic scholarship. Nor shall any change in roster limits result in a reduction

in the current number of athletic scholarships permissible under current NCAA Division I rules in

any sport. Member Institutions each maintain the right to unilaterally reduce the number of sports,

the roster size, and/or the number of athletic scholarships available to student-athletes of any sport.

Conferences each maintain the right to unilaterally reduce the number of sports Member

Institutions within their respective conferences are required to offer, the number of sports

sponsored by the conference, and/or the roster limits within their conference, subject to the

limitations noted above that reductions in roster limits will not result in the loss of athletic

scholarships for then-current student-athletes and that any change in roster limits shall not result

in a reduction in the current number of athletic scholarships permissible under current NCAA

Division I rules in any sport.

       Section 2. Existing NCAA Compensation Rules. Except to the extent that modification

or elimination is required by the terms of this Injunctive Relief Settlement, the NCAA’s and

conferences’ existing rules limiting the amount of compensation and benefits to Division I student-

                                                  19
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 71 of 134




athletes may remain in effect. The Parties shall request that the Court approve all existing NCAA

rules regarding compensation and benefits that may or may not be provided by Division I

conferences or schools to student-athletes, revised as necessary to conform to the terms of this

Injunctive Relief Settlement.

       Section 3.    New NCAA and Conference Rules.              The NCAA and the Conference

Defendants may adopt the following additional rules before or in conjunction with Final Approval

of this Injunctive Relief Settlement:

       NCAAcontinue, and conferencepass new rules prohibiting Boostersfurther clarifying and
implementing, their existing prohibitions related to NIL transactions involving Associated Entities

or Individuals. Such clarifying rule changes may include specifying that the NCAA and/or the

Conference Defendants prohibit NIL payments by Associated Entities or Individuals (individually

or collectively) of a Member Institution from entering into NIL licenses with or for the benefit ofto

current or prospective student-athletes at a given Member Institution unless the license/payment is

for a valid business purpose related to the promotion or endorsement of goods or services provided

to the general public for profit, with compensation at rates and terms commensurate with

compensation paid to similarly situated individuals with comparable NIL value who are not current

or prospective student-athletes at the Member Institution; .

       The NCAA and the Conference Defendants may likewise adopt or affirm the following

additional rules before or in conjunction with Final Approval of this Injunctive Relief Settlement:

       (a)     NCAA and conference rules governing the number of seasons/length of time

student-athletes are eligible to receive benefits, including scholarships and payments, pursuant to

this Injunctive Relief Settlement, including any rule capping the number of years a student-athlete

may receive payments at four years, and providing that all four of those years must be played

within a consecutive five-year period (with the exception that in the event of a national force


                                                 20
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2       Filed 09/26/24      Page 72 of 134




majeure event that leads to the cancellation of games, or the absence of fans, the rules may provide

for an additional year to be added onto the five-year period);

        (b)     NCAA and conference rules requiring that student-athletes continue to make

progress toward a degree while enrolled in any Member Institution in order to receive benefits

pursuant to this Injunctive Relief Settlement;

        (c)     NCAA and conference rules, subject to Class Counsel’s review and approval that

shall not be unreasonably withheld, permitting student-athletes the ability to seek guidance from

the Designated Enforcement Entity prior to entering into a proposed NIL contract or agreement as

to whether said contract may constitute a violation of the NCAA rules affirmed, revised, or created

pursuant to this Injunctive Relief Settlement;

        (d)     NCAA and conference rules, subject to Class Counsel’s review and approval that

shall not be unreasonably withheld, permitting a student-athlete to retain or regain eligibility by

both (a) rescinding or modifying any agreement determined to be non-compliant with the NCAA

rules affirmed, revised, or created pursuant to this Injunctive Relief Settlement and (b) returning,

as necessary, any compensation or consideration received pursuant to a non-compliant agreement,

in order to expunge any violation of the NCAA rules affirmed, revised, or created pursuant to this

Injunctive Relief Settlement. The purpose and intent of such rule is to ensure that student-athletes

have the ability to terminate and/or modify a proposed/executed NIL contract or agreement rather

than risk their eligibility; and

        (e)     NCAA and conference rules addressing circumvention subject to the procedures

set forth in Article 6, Section 3.




                                                 21
                             AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                     Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 73 of 134




                                           ARTICLE 5

                                PROHIBITED AGREEMENTS

       Section 1. Prohibited Collusive Agreements. Conference Defendants or their Member

Institutions (except as provided below with respect to conference rules) shall be prohibited from

entering into agreements with each other, or with the NCAA, to limit or restrict the amount of

benefits that they individually choose to provide to student-athletes at levels below those permitted

by the terms of this Injunctive Relief Settlement, other than in the event that a change in law or

circumstances permits collective bargaining to take place. In the event that a change in law or
circumstances permits collective bargaining to take place, this Article 5, Section 1 shall not apply

to prohibit any bona fide collective bargaining activities of the NCAA, Conference Defendants,

and Member Institutions but shall otherwise remain in full force and effect. Subject to Article 10,

Section 5, a violation of this provision shall be remedied by an award of appropriate damages and

equitable relief solely against the involved Member Institutions, conferences, or NCAA, as

determined by the Court or a special master appointed by the Court. Notwithstanding the

foregoing, individual conferences (acting through their Member Institutions) shall be permitted to

adopt and enforce rules applicable to their Member Institutions regarding benefits provided or not

provided to student-athletes. Class Counsel may bring an action to enforce the terms of this

provision to seek damages and equitable relief on behalf of any number of Injunctive Class

members. For the avoidance of doubt, nothing in the SSA or this Injunctive Relief Settlement, or

NCAA or conference rules permitted or approved by the Injunctive Relief Settlement, shall be

deemed to be a collusive agreement in violation of this provision.




                                                 22
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 74 of 134




                                            ARTICLE 6

                                         ENFORCEMENT

        Section 1. Enforcement of Injunctive Relief Settlement.

        (a)     Any disputes involving any or all of the Defendants on one side and any Injunctive

Class Members on the other side concerning the interpretation or enforcement of this Injunctive

Relief Settlement shall, if they cannot be resolved by negotiation and agreement, be submitted to

the Court.    For the avoidance of doubt, any disputes regarding enforcement of NCAA or

conference rules against student-athletes or Member Institutions that are subject to this Injunctive

Relief Settlement, including but not limited to questions of eligibility, shall be governed by Section

2 of this Article.

        (b)     The Court shall retain jurisdiction to resolve all disputes that may arise concerning

compliance with, the validity of, interpretation or enforcement of the terms and conditions of this

Injunctive Relief Settlement, including through appointment of a special master whose decisions

shall be appealable to the Court unless the Parties agree in a particular dispute that the special

master’s ruling shall be final without further appeal. Absent any such agreement as to a particular

dispute, the Parties reserve all appeal rights with respect to special master or Court determinations

concerning the interpretation or enforcement of this Injunctive Relief Settlement.

        (c)     All claims set forth in subsection (b), immediately above, asserted on behalf of

student-athletes shall be prosecuted exclusively by Class Counsel except as provided herein, and

Class Counsel has the authority to exclusively monitor and enforce this Injunctive Relief

Settlement on behalf of Injunctive Class Members throughout the Term as provided herein.

        Section 2. Enforcement Authority and Arbitration Process for Enforcement of

NCAA/Conference Rules Implementing This Injunctive Relief Settlement

        (a)     Any one or more of the NCAA, Conference Defendants, and Non-Defendant

Conferences shall be permitted to (i) adopt rules and procedures consistent with and to enforce this

                                                 23
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2          Filed 09/26/24       Page 75 of 134




Injunctive Relief Settlement, (ii) require submission of information and documentation from

student-athletes and Member Institutions to the NCAA or conferences or designated third parties,

and (iii) enforce (including through the Designated Enforcement Entity) NCAA and conference

rules implementing the terms of this Injunctive Settlement including rules to be promulgated

pursuant to Article 4, by, among other penalties, declaring student-athletes ineligible for

competition and/or by reducing distributions to Member Institutions that violate the terms and

limitations set forth in this Injunctive Relief Settlement and/or the new or modified NCAA and

conference rules.

        (b)     Prior to the entry of Final Approval, Class Counsel and Defendants shall meet and

confer to select neutral arbitrators, whose decisions shall, to the fullest extent permitted by

applicable law, be final and binding on the parties to the arbitration, to arbitrate any and all disputes

regarding any discipline imposed pursuant to subsection (a) immediately above or any rule(s)

promulgated pursuant to Article 4, Section 3. If an arbitrator is terminated by agreement of Class

Counsel and Defendants or by the Court, she or he will continue to hear any disputes already

pending before the arbitrator but may not hear any new disputes. Class Counsel and Defendants

shall promptly agree upon a replacement arbitrator, whenever required. If Class Counsel and

Defendants cannot agree on a replacement arbitrator within ten (10) days, they will choose the

arbitrator under the alternate striking method from a list of ten (10) non-conflicted arbitrators to

be provided by JAMS from its panel of neutral arbitrators in its Sports Law Practice Group.

        (c)     Arbitrators appointed pursuant to the preceding subsection shall serve a term of

three (3) years, unless terminated earlier by agreement of Class Counsel and Defendants (or by the

Court) through a written notification. A Member Institution that contests the imposition of

discipline on itself or its student-athlete(s), including by directly or indirectly paying the attorneys’

fees and costs of such student-athletes(s), pursuant to subsection (a) shall pay the arbitrator’s

reasonable fees and expenses for proceedings relating to the penalties being challenged. Student-

                                                   24
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                    Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24       Page 76 of 134




athletes contesting any discipline shall not be charged any arbitration fees or expenses regardless

of whether a Member Institution contests the imposition of discipline.

       (d)     All arbitrations under this Section 2 shall be completed on an expedited basis, but

in no more than forty-five (45) days after commencement of proceedings unless the arbitrator finds

good cause for having a longer schedule. During the pendency of an arbitration, any enforcement

of any discipline imposed in connection with the violation that is subject to the arbitration shall be

stayed; provided, however, that the arbitrator shall have the ability to lift any such stay for good

cause shown. The decision of the arbitrator shall be final and binding to the fullest extent permitted

by applicable law. The arbitrator may, in an appropriate case, order the production of documents

that are determined to be necessary for a fair adjudication of the dispute. Witnesses may be called

at the arbitration and the parties may be represented by counsel of their choice at their own expense.

The arbitrator shall promptly issue a written award embodying his or her decision. Defendants

may agree with Class Counsel upon procedural rules governing the arbitration process, provided

that all arbitration rules must be consistent with this Section 2 and must apply uniformly to all

student-athletes and all Member Institutions that choose to provide or facilitate payments or

benefits to student-athletes as permitted by this Injunctive Relief Settlement, including but not

limited to incremental scholarships permitted by Article 3, Section 3(b).

       (e)     If student-athletes seek to challenge any discipline imposed on them in connection

with the terms of this Injunctive Relief Settlement, they shall be required to engage in the

arbitration process set forth in this Section 2. If Member Institutions seek to challenge any

discipline imposed on them or their student-athletes in connection with the terms of this Injunctive

Relief Settlement, they shall be required to engage in the arbitration process set forth in this Section

2, to the extent such an arbitration requirement is consistent with the state law of the institution

involved in the dispute.



                                                  25
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                    Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 77 of 134




       (f)     Student-athletes will have the right to be represented by counsel of their choosing

in any such arbitration regarding the Injunctive Class Member’s individual interests. Class

Counsel shall promptly receive copies of all decisions by the arbitrator.

       Section 3. NCAA or Conference Rules Relating to Circumvention. The Defendants

may adopt rules that prohibit any transaction, payment, or agreement designed to defeat or

circumvent, and with the effect of defeating or circumventing, the intention of the Parties as

reflected in the terms of this Injunctive Relief Settlement. Class Counsel shall receive notice of

any such new rules to prevent circumvention and shall have thirty (30) days to file an objection to

such rules with the Court or a special master appointed by the Court. In the event of such an

objection, the proposed circumvention rule(s) shall be stayed for four (4) months pending judicial

resolution. Upon receiving an objection from Class Counsel, Defendants shall reasonably

cooperate with requests for documents in the possession of Defendants sufficient to show the

reasons for adopting the rule, the deliberations on the rule, and any committee reports or minutes

of meetings relating to the rule, and shall produce those documents to Class Counsel as soon as

reasonably possible, but in no event later than two (2) weeks from the date of the objection. For

the avoidance of doubt, the procedure set forth in this Article 6, Section 3, shall apply only to

circumvention rules. If a circumvention rule is adopted and then enforced against any Member

Institution or student-athlete, such discipline may be appealed by the student-athlete or Member

Institution pursuant to the arbitration procedure set forth in Article 6, Section 2. Class Counsel

may file an amicus brief and present argument in such a proceeding upon a determination by the

arbitrator, or if Class Counsel believes, that the interests of the Injunctive Class may be adversely

impacted by the outcome of the proceeding or that the circumvention arguments being presented

are inconsistent with the terms of the Injunctive Relief Settlement; provided, however, that Class

Counsel may seek reimbursement of fees and costs, in accordance with Paragraph 27 of the SSA,

relating to its participation in no more than two (2) such arbitrations in an Academic Year.


                                                 26
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 78 of 134




                                            ARTICLE 7
                     LEGISLATION & ALTERNATIVE STRUCTURES

       Section 1. Legislation. Class Counsel will use reasonable efforts to support the portions

of any proposed federal or state legislation implementing/codifying this Injunctive Relief

Settlement, including reasonably cooperating to support antitrust immunity for conduct undertaken

by Defendants in compliance with or to implement the terms of this Injunctive Relief Settlement

during the Term or any court-approved extension thereof, and preemption of any state law existing

before or as of the date of Final Approval in conflict with this Injunctive Relief Settlement. Class

Counsel will not oppose, advocate against, lobby in any way against, or otherwise attempt or seek

to undermine legislation implementing/codifying this Injunctive Relief Settlement. Class Counsel

further agree, during the Term, to take no position and thus be neutral on any proposed, pending,

or future local (e.g., city/county), state, or federal legislation provisions which would provide

student-athletes with benefits in addition to those permitted by this Injunctive Relief Settlement.

Class Counsel will also take no position, and thus be neutral, in all instances and in all forums and

venues, on the issue of whether student-athletes should be considered/deemed “employees” or

whether collective bargaining should be permitted for compensation of student-athletes. However,

if such collective bargaining for student-athletes is permitted in the future, Class Counsel shall not

be precluded from representing any organization engaged in such collective bargaining, including

in support of such bargaining activities.

       Section 2. Alternative Structures. Nothing in this Injunctive Relief Settlement shall limit

or interfere with the ability of student-athletes and Defendants or Defendants’ Member Institutions

and Non-Defendant Conferences or Non-Defendant Conference Member Institutions to explore

and implement alternative structures for providing benefits to student-athletes, including but not

limited to collective bargaining in the event that a change in law or circumstances permits such

collective bargaining to take place. In such a circumstance, the benefits permitted under this

Injunctive Relief Settlement may be made part of any collectively bargained compensation
                                                 27
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24       Page 79 of 134




package or alternative structure, subject to the negotiations of the relevant parties and all applicable

laws, and this Injunctive Relief Settlement shall not preclude the parties to such bargaining from

agreeing upon additional, expanded or different benefits than those permitted by this Injunctive

Relief Settlement. Relatedly, if some or all student-athletes are characterized as and/or definitively

determined to have employee status under state or federal law and any Defendant or Releasee is

required to pay any monies/provide any benefits to student-athletes, or student-athletes otherwise

receive benefits as a result, beyond the monies and benefits provided in this Injunctive Relief

Settlement, the Defendants shall have the option, but not the obligation, to seek to terminate or

modify the injunction contemplated by this Injunctive Relief Settlement or the terms of this

Injunctive Relief Settlement (with all releases of Released Claims remaining valid and no claims

accruing during the period of the effectiveness of the injunction), but with Class Counsel reserving

their rights to oppose any such termination or modification of the injunction contemplated by this

Injunctive Relief Settlement or the terms of this Injunctive Relief Settlement.




                                                  28
                            AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                    Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24      Page 80 of 134




                                            ARTICLE 8

                                 NAME, IMAGE & LIKENESS

       Section 1.      Broadcast & Promotional NIL

       (a)     Plaintiffs and the Injunctive Classes do not and will not contest during the Term the

rights asserted by the Defendants and their Member Institutions, and entities to which rights to

broadcast and otherwise distribute audio and video of collegiate games and other competitive

collegiate athletic events are licensed by the Defendants and their Member Institutions, to (i)

telecast, broadcast, or otherwise distribute or transmit, on a live, delayed, and/or archived basis, in

any and all media now known or hereafter developed, any and all college games and competitive

events, including clips and highlights thereof, (ii) produce, license, offer for sale, sell, market, or

otherwise distribute or transmit on a live, delayed, and/or archived basis, broadcasts and other

electronic or digital distributions of any such collegiate athletic games or competitive athletic

events, and clips and highlights thereof, in any and all media now known or hereafter developed,

including, but not limited to electronic or digital media, and (iii) use, employ, or otherwise transmit

or publish student-athletes’ NIL for the purpose of promoting the telecasts, broadcasts, and other

electronic or digital distributions of games and competitive events, including distribution of clips

and highlights thereof, as referenced in this paragraph.

       (b)     Nothing herein shall be construed to confer, during or after the Term, any right or

authority to use a student-athlete’s name, image or likeness in a manner that constitutes an

endorsement by that student-athlete of a third-party brand, product, or service (“Endorsement”)

other than in connection with promotion of games or events that have title sponsors (by way of

example only, events such as the “Allstate Sugar Bowl” or the “Las Vegas Bowl presented by

GEICO”), including games or events that are organized by or affiliated with a conference with a

title sponsor. Nothing herein shall be construed to grant any publicity rights for use in licensed

consumer products, whether traditional or digital (e.g., video games, trading cards, apparel). For

                                                  29
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24      Page 81 of 134




purposes of clarity, and without limitation, it shall not be an Endorsement to use, or authorize

others to use, including without limitation, in third-party advertising and promotional materials,

footage and photographs of a student-athlete’s participation in college athletic games or

competitive athletic events (including clips and highlights thereof) as long as the clips and

highlights do not prominently feature an individual student-athlete in connection with a third party

product or service, other than in connection with promotion of games or events that have title

sponsors or are organized by or affiliated with a conference with a title sponsor as described in this

section.

       Section 2. Broadcast NIL Reservation. The Parties reserve all rights as to the existence,

or non-existence, of broadcast name-image-and-likeness (“BNIL”) rights (including the use of a

person’s NIL in or in connection with a broadcast, telecast or other media distribution or

transmission, including, without limitation, all forms of television, radio, telephone, internet, and

any other communications media, forms of reproduction and other technologies, whether presently

existing or not, anywhere in the world, whether live or on any form of delay, including, without

limitation, network, local, cable, direct broadcast satellite, and any form of pay television, and all

other means of distribution and exploitation, whether presently existing or not and whether now

known or hereafter developed). To the extent that any court of competent jurisdiction determines

and/or to the extent that any relevant legislative body passes a law providing that student-athletes

have such rights, then the Defendants and their Member Institutions, and entities to which rights

to broadcast and otherwise distribute college athletic games and competitive athletic event are

licensed by the Defendants and their Member Institutions, shall be deemed to have been granted a

license to exercise all rights enumerated in Article 8, Section 1, subject to the limitations set forth

in that section, for the duration of the Term.




                                                  30
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2       Filed 09/26/24     Page 82 of 134




                                            ARTICLE 9

                                               TERM

       Section 1. Term. The term of this Injunctive Relief Settlement shall be ten (10) Academic

Years after the date of Final Approval of the SSA by the Court.

       Section 2. Potential Extension. The Parties will negotiate in good faith, prior to the

conclusion of the Term, as to whether to jointly seek an extension of the Term upon its expiration

on terms to be agreed upon and approved by the Court, after notice and an opportunity to object

by the members of the Injunctive Relief Settlement Class.

       Section 3. Mutual Reservation of Rights. Upon the expiration or termination of this

Injunctive Settlement, the Parties shall be free to make any available argument that any conduct

occurring after the expiration or termination of this Injunctive Settlement is or is not then a

violation of the antitrust laws or any other laws.




                                                 31
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
    Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24       Page 83 of 134




                                          ARTICLE 10

                                      MISCELLANEOUS

       Section 1. Conflicts. The provisions of this Injunctive Relief Settlement supersede any

conflicting provisions in any rule or policy, or any other document, adopted by Defendants or any

of their Member Institutions, affecting the matters addressed herein.

       Section 2. Implementation. The Parties will use their best efforts to faithfully carry out

the terms and conditions of this Injunctive Relief Settlement.

       Section 3. Time Periods. The specification of any time period in this Injunctive Relief

Settlement shall include any non-business days within such period, except that any deadline falling

on a Saturday, Sunday, or Federal Holiday shall be deemed to fall on the following business day.

       Section 4. Delivery of Documents. The Parties, shall, upon the request of any Party

hereto, execute and deliver such further documents and instruments to take such further steps as

are reasonably necessary and appropriate to implement and effectuate the purposes of this

Injunctive Relief Settlement.

       Section 5. Eleventh Amendment and Sovereign Immunity. Plaintiffs acknowledge that

Defendants do not have the authority to waive or compromise any immunity or protection of any

Member Institution pursuant to the Eleventh Amendment to the United States Constitution or any

other applicable provisions of the law of the state in which the Member Institution is located.

Notwithstanding the above, Plaintiffs and Class Counsel reserve their rights as to whether

sovereign immunity has any application to this Injunctive Relief Settlement.

       Section 6. Compliance with Protective Order. All filings submitted to the Court or a

special master appointed by the Court relating to or in connection with this Injunctive Relief

Settlement shall comply with the protective order entered in the Action (ECF 136), which shall

remain in full force and effect for the duration of the Term.



                                                32
                           AMENDED INJUNCTIVE RELIEF SETTLEMENT
                                   Case Nos. 4:20-CV-03919
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 84 of 134
        Case 4:20-cv-03919-CW                        Document 535-2                   Filed 09/26/24               Page 85 of 134




INTRODUCTION .......................................................................................................................... 3
BACKGROUND INFORMATION ............................................................................................... 4
   1.      NCAA LEGISLATION ...................................................................................................... 4
           a.     Division I ..................................................................................................................... 4
           b.     Division II.................................................................................................................... 5
           c.     Division III .................................................................................................................. 5
   2.      INTERPRETATIONS ........................................................................................................ 5
           a.     Objectives of Agreed-Upon Procedures ...................................................................... 5
           b.     Organization of Intercollegiate Athletics Programs .................................................... 7
           c.     The Independent Accountant....................................................................................... 8
AGREED-UPON PROCEDURES ............................................................................................... 10
   1.      Athletics Department Statement of Revenues and Expenses ........................................... 11
   2.      Minimum Compliance Agreed-Upon Procedures ............................................................ 11
   3.      Minimum Agreed-Upon Procedures ................................................................................. 12
           a.     Institutional Representations ..................................................................................... 13
           b.     Report on Agreed-Upon Procedures ......................................................................... 13
                  i. Application of Agreed-Upon Procedures................................................................ 13
                  ii.      Presentation of the Statement of Revenues and Expenses .............................. 13
                  iii.     Notes and Disclosures ..................................................................................... 13
MINIMUM AGREED-UPON PROCEDURES FOR AFFILIATED AND OUTSIDE
ORGANIZATIONS ...................................................................................................................... 15
           a.     Supplemental Procedures for Affiliated and Outside Organizations ........................ 15
APPENDIX A | Revenue Categories ............................................................................................ 17
APPENDIX B | Expense Categories ............................................................................................. 22
APPENDIX C | Other Reporting Items ........................................................................................ 27
APPENDIX D | Minimum NCAA Agreed-Upon Procedures for Revenue, Expenses and Other
Reporting Items ............................................................................................................................. 28
APPENDIX E | Independent Accountant’s Report on Agreed-Upon Procedures ........................ 41
APPENDIX F | Common Questions and Answers ....................................................................... 43
APPENDIX G | NCAA Online Financial Reporting Links .......................................................... 45



                                                                                                                                        Page | 2
    Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 86 of 134




INTRODUCTION
NCAA constitution, Article 2(D)(1)(c) states that all members of the NCAA must submit annually
its financial data as determined by the division detailing operating revenues, expenses and capital
relating to the intercollegiate athletics program.

Division I:
As mandated under the provisions of NCAA Bylaw 20.2.4.17, NCAA Division I member
institutions are required to submit financial data detailing operating revenues, expenses, and capital
related to its intercollegiate athletics program to the NCAA on an annual basis. This financial data
is subject to agreed-upon procedures performed by a qualified independent accountant and must
be presented to the president or chancellor prior to submission to the NCAA via the Membership
Financial Reporting System, Bylaw 20.2.4.17.1.

Division II:
As mandated under Bylaw 7.3.1.5.22.1, at least once every three years, NCAA Division II member
institutions are required to perform an expenses and revenues review related to its intercollegiate
athletics programs which is subject to the agreed-upon procedures. The expenses and revenues
review shall be performed by a qualified independent accountant and must be presented to the
president or chancellor.

In addition, per the NCAA Constitution Article 2(D)(1)(c), institutions are required to submit
financial data annually to the NCAA via the Membership Financial Reporting System. The data
collected will be stored within the Institutional Performance Program (IPP) for comparison and
reporting purposes.

Division III:
Division III members are provided with two methods in which to meet the constitutional
requirement of Article 2(D)(1)(c).

   1. Division III institutions can submit financial data annually to the NCAA via the
      Membership Financial Reporting System for Institutional Performance Program (IPP)
      purposes. Per the regular financial audit requirements, revenue and expenditures
      associated with outside groups or individuals shall be included in this audit.

   2. Division III institutions can submit the EADA Certificate of Completion to the NCAA
      via the Membership Financial Reporting System.

The NCAA may use the data collected through the Membership Financial Reporting System to
support its research efforts. The NCAA will maintain its policy of not releasing information
submitted by individual institutions; only the aggregate results by NCAA division will be made
available to membership.


                                                                                             Page | 3
     Case 4:20-cv-03919-CW         Document 535-2        Filed 09/26/24      Page 87 of 134




BACKGROUND INFORMATION
1.     NCAA LEGISLATION
       The NCAA agreed-upon procedure reporting legislation for each of the three membership
       divisions are contained in each division’s manual:
       a.      Division I
               Bylaw 20.2.4.17. “An active member institution shall submit financial data
               detailing operating revenues, expenses and capital related to its intercollegiate
               athletics program to the NCAA on an annual basis in accordance with the
               financial reporting policies and procedures. The required data shall include, but
               is not limited to, the following:

                  (a) All expenses and revenues for or on behalf of an institution's intercollegiate
                      athletics program, including those by any affiliated or outside organization,
                      agency or group of individuals;

                  (b) Salary and benefits data for all athletics positions. The data shall include
                      base salary, bonuses, endorsements, media fees, camp or clinic income,
                      deferred income and other income contractually guaranteed by the
                      institution;

                  (c) Capital expenditures (to be reported in aggregate for athletics facilities),
                      including capitalized additions and deletions to facilities during the
                      reporting period, total estimated book value of athletically related plant
                      and equipment net of depreciation, total annual debt service on athletics
                      and university facilities and total debt outstanding on athletics and
                      university facilities;

                  (d) Value of endowments at fiscal year-end that are dedicated to the sole
                      support of athletics;

                  (e) Value of all pledges at fiscal year-end that support athletics; and

                  (f) The athletics department fiscal year-end fund balance.”

              Bylaw 20.2.4.17.1. “The report shall be subject to annual agreed-on verification
              procedures approved by the membership (in addition to any regular financial
              reporting policies and procedures of the institution) and conducted by a qualified
              independent accountant who is not a staff member of the institution and who is
              selected by the institution's chancellor or president or by an institutional
              administrator from outside the athletics department designated by the chancellor or
              president. The independent accountant shall verify the accuracy and completeness
              of the data prior to submission to the institution's chancellor or president and the
              NCAA. The institution's chancellor or president shall certify the financial report
              prior to submission to the NCAA. "



                                                                                            Page | 4
     Case 4:20-cv-03919-CW         Document 535-2         Filed 09/26/24      Page 88 of 134




       b.     Division II
              Bylaw 7.3.1.5.22.1. “At least once every three years, all expenses and revenues for
              or on behalf of a Division II member institution's intercollegiate athletics programs,
              including those by any affiliated or outside organization, agency or group of
              individuals (two or more), shall be subject to agreed-on procedures approved by the
              Division II membership (in addition to any regular financial reporting policies and
              procedures of the institution) conducted for the institution by a qualified independent
              accountant who is not a staff member of the institution and who is selected either by
              the institution's president or chancellor or by an institutional administrator from
              outside the athletics department designated by the president or chancellor. If, within
              the last three years, the institution has conducted an overall institutional audit that
              includes a financial audit of all athletics department funds using the agreed upon
              procedures, then the institution is not required to perform a separate financial audit
              of all athletics department expenditures. An institution is not required to use the
              agreed upon procedures in years outside the once in every three-year cycle.”

              Bylaw 7.3.1.5.22.1.1. “The report created pursuant to the approved procedures shall
              be completed and presented to the president or chancellor on or before January 15
              after the end of the institution's fiscal year.”

              Effective August 1, 2025. Bylaw 7.3.1.5.23 “Financial Data Requirement, an
              active member institution that fails to submit its financial data per NCAA Article
              2-D-1-c by the applicable deadline, in a format approved and administered by the
              Membership Committee, shall forfeit Division II Institutional Equal Distribution
              Funds for the following academic year.”

              Effective August 1, 2025. Bylaw 7.3.1.5.23.1 “The Membership Committee may
              waive the requirement of Bylaw 7.3.1.5.23 if it deems that unusual circumstances
              warrant such action. The decision of the Membership Committee shall be
              considered final.”


       c.     Division III
              Bylaw 20.14.5.3. “All expenditures and revenue for or on behalf of a Division III
              member institution's intercollegiate athletics programs shall be subject to the
              institution's regular financial audit. In particular, additional revenue and
              expenditures associated with outside groups or individuals shall be included in this
              audit.”

2.     INTERPRETATIONS
       a.   Objectives of Agreed-Upon Procedures
            The institution’s agreed-upon procedures report shall be presented to the president
            or chancellor by the independent accountant. The report’s primary purpose is to
            ensure that the president or chancellor is made aware of all financial activity
            (both internal and external) for athletics purposes and to assist the institution in
            exercising control over financial activity made by or on behalf of the intercollegiate

                                                                                            Page | 5
Case 4:20-cv-03919-CW       Document 535-2         Filed 09/26/24       Page 89 of 134




        athletics program. The report should not be filed with the NCAA national office.
        However, should information supplied as a result of this initiative raise questions
        or prompt concerns about the proper application of NCAA legislation, an
        institution’s president or chancellor may wish to contact the NCAA administrative
        services staff for assistance.

        The report’s secondary purpose is to ensure the accuracy of the data the institution
        is submitting for sports sponsorship, Pell grants and grants-in-aid, which determines
        the calculation of several Division I NCAA Revenue Distributions.

        The agreed-upon procedures scope of work shall include the reporting of revenue
        and expenses required in NCAA financial reporting information. The definitions
        used in the agreed-upon procedures provide a consistent means of reporting
        intercollegiate athletics finances and will provide the presidents or chancellors and
        other campus decision makers of our member institutions with empirical data to
        assist them in making their formal decisions.

        Data available for the agreed-upon procedures may vary among institutions as a
        result of differences in athletics programs’ organizational structure, financial
        resources and accounting and budgetary methods. Information that may prove
        particularly useful (depending on circumstances noted above) to institutions in
        evaluating the level of institutional control includes:

        (1)     A comparison of actual revenues and expenses related to the intercollegiate
                athletics program as defined on pages 17-26 (from both internal and
                external sources) to amounts budgeted;

        (2)     The nature of institutional internal controls that affect operations of
                the intercollegiate athletics program, and

        (3)     The relationship of expenses for or on behalf of intercollegiate athletics
                by affiliated and outside organizations (e.g., booster groups, alumni
                organizations, independent or affiliated foundations, supporting
                organizations) to institutional expenses for similar purposes and the nature
                of internal controls in place to monitor the financial activities of such
                affiliated and outside organizations.

                      1. Affiliated Organization: An organization that, directly or
                         indirectly through one or more intermediaries, controls, is
                         controlled by, or is under common control with an organization
                         (in this case the institution and/or intercollegiate athletics).

                      2. Supporting Organization: An organization that provides
                         supporting activities, such as management and general activities,
                         fundraising activities or membership development activities, to a
                         not-for-profit organization (in this case a not-for-profit institution

                                                                                      Page | 6
Case 4:20-cv-03919-CW       Document 535-2         Filed 09/26/24      Page 90 of 134




                          and/or intercollegiate athletics).

        The financial information, the existence and appropriateness of the institution’s
        internal controls are the responsibility of the institution. Independent accountants,
        through the application of agreed-upon procedures, should not provide an opinion
        or assurance on the reliability of financial information generated by the institution,
        the existence and functioning of appropriate internal controls. The agreed-upon
        procedures report presents the findings of the agreed-upon procedures performed
        by the independent accountant. An understanding of this distinction in role and
        responsibility is crucial to the president or chancellor’s effective use of the
        information provided as part of the agreed-upon procedures performed.

        The NCAA has developed the agreed-upon procedures set forth in this document
        with the assistance of the National Association of College and University Business
        Officers (NACUBO) and Association of College and University Auditors (ACUA).
        These procedures seek to provide flexibility in complying with the provision of
        Bylaw 20.2.4.17. At a minimum, the institution’s president or chancellor should
        seek information considered consistent with the legislation’s purpose and the
        requirements of professional auditing literature, recognizing reasonable cost and
        benefit considerations.

        An institution’s president or chancellor also may request additional information
        from the institution’s athletics department, affiliates and outside groups, as well as
        the performance of additional agreed-upon procedures in agreement with the
        independent accountants. Each institution’s president or chancellor should consider
        carefully what approach best serves the institution’s needs in evaluating
        institutional control. The president or chancellor may include a formal assessment
        of internal controls over intercollegiate athletics programs financial processes.

        The independent accountants will not review or include in their reports information
        concerning the institution’s compliance with NCAA legislation. Responsibility
        for assuring compliance with NCAA legislation is the ultimate responsibility of
        the institution’s president or chancellor, and the information provided as part of the
        agreed-upon procedures report is intended to assist president or chancellors in their
        efforts to assure institutional compliance.

        While the detection of improper application of NCAA legislation is not the primary
        function of these procedures, the independent accountants should be alert
        nonetheless for situations or transactions that may indicate the existence of such
        conditions. If, during the course of executing the procedures, the independent
        accountant becomes aware of acts that may indicate a violation of NCAA
        legislation, the independent accountant shall immediately report the violation to the
        institution’s president or chancellor.

  b.    Organization of Intercollegiate Athletics Programs
        Intercollegiate athletics programs vary significantly in scope and complexity

                                                                                     Page | 7
Case 4:20-cv-03919-CW        Document 535-2         Filed 09/26/24      Page 91 of 134




        among institutions. Financial reporting procedures and controls also vary. For
        example, some institutions clearly have segregated intercollegiate athletics from
        other institutional athletics programs and physical education while at other
        institutions, these activities are integrated with the institution’s administrative
        structure and accounting records.

        Likewise, the extent to which institutions receive cash or in-kind contributions
        from affiliated and outside organizations and the method by which such
        contributions from affiliated and outside organizations are included in the
        institution’s athletics department’s financial statements vary considerably.
        Institutional accounting practices also differ in areas such as indirect facilities and
        administrative support, grants-in-aid costs and student-activity fees. Institutions
        and their independent accountants should be aware of these differences among
        programs and recognize that NCAA legislation does not mandate particular
        organizational structure or specific budgetary approaches.

        For purposes of these procedures, as applicable, the independent accountant (or, in
        Division III, the institution’s accountant) shall include certain financial information
        of the following organizations, agencies and groups within the agreed-upon
        procedures:

        (1)     Booster organizations established by or on behalf of an intercollegiate
                athletics program. For the purposes of this legislation, a booster group
                may be defined as any organization that has as its principal, or one of
                their principal purposes, the generating of moneys, goods or services for
                or on behalf of an intercollegiate athletics program, or the promotion of
                said program through other means;

        (2)     Independent or affiliated foundations or other organizations that have as a
                principal, or one of their principal purposes, the generating or maintaining
                of grants-in-aid or scholarship funds, gifts, endowments, or other moneys,
                goods or services to be used primarily by the intercollegiate athletics
                program, and

        (3)     Alumni organizations that have as a principal, or one of their principal
                purposes, the generating of moneys, goods or services for or on behalf of
                an intercollegiate athletics program and that contribute moneys, goods or
                services directly to an intercollegiate athletics program, booster group, or
                independent or affiliated foundation as previously noted.

  c.    The Independent Accountant
        In Divisions I and II, the agreed-upon procedures report is required to be conducted
        by an independent accountant who is not an institutional staff member. This
        requirement is not intended to question the ability or integrity of institutional
        accountants or auditors, but rather to emphasize that this is a separate procedure for
        specific NCAA compliance purposes and to further protect the institution from

                                                                                      Page | 8
Case 4:20-cv-03919-CW       Document 535-2         Filed 09/26/24      Page 92 of 134




        inferences that the agreed-upon procedures were not objective. In Division III,
        an independent accountant is not required.

        For the purposes of this legislation in Divisions I and II, an individual employed
        by the state (or by a state university system) to perform audits for that state’s
        colleges and universities (or for the colleges and universities within a state
        university system) is considered to be an independent accountant, provided the
        individual is not a regular employee of the institution. The procedures undertaken
        by state auditors in the performance of their duties should meet the minimum
        standards set forth in these agreed-upon procedures applicable to the revenues
        and expenses of all independent booster or support organizations. If state auditors
        are unable to perform those procedures, the president or chancellor is required to
        engage an independent accountant to satisfy these procedures. The approach
        required by the independent accountant to satisfy these procedures will depend
        on the scope of the state auditors work and the ability and willingness of the
        independent accountant to rely on the work performed by the state auditors.

        Work performed by internal auditors at Division I and II institutions, even though
        their responsibility includes an annual financial audit for the entire institution
        (including intercollegiate athletics and institution-controlled affiliated or outside
        organizations), would not meet the requirements of this legislation. Internal
        auditors may prepare schedules and accumulate data or provide other information
        for the practitioner’s use in performing the agreed-upon procedures. Accordingly,
        independent accountants may use work performed by internal auditors. However,
        it would be inappropriate for the independent accountant to agree to merely read
        the internal auditors’ report solely to describe or repeat the findings, take
        responsibility for all or a portion of any procedures performed by the internal
        auditors by reporting those findings as the practitioner’s own, or report in any
        manner that implies shared responsibility for the procedures with the internal
        auditors.




                                                                                    Page | 9
    Case 4:20-cv-03919-CW            Document 535-2         Filed 09/26/24       Page 93 of 134




AGREED-UPON PROCEDURES
Depending on the institution’s existing level of agreed-upon procedures and the organizational
structure of the institution’s intercollegiate athletics programs and related affiliated or outside
organizations, there are several approaches that the independent accountant may use to comply
with the agreed-upon procedure requirements for Division I and II institutions. [Note: In Division
III, the completion of the institution’s regular financial audit shall satisfy the requirements of
Bylaw 20.14.5.3, provided that all expenditures and revenue for or on behalf of a Division III
member institution's intercollegiate athletics programs shall be subject to the institution's regular
financial audit. In particular, additional revenue and expenditures associated with outside groups
or individuals shall be included in this audit.]

Work performed by an independent auditor as part of a Division I or II institution-wide financial
audit would comply with the terms of this legislation if the work performed by the independent
auditor relative to the institution’s department of intercollegiate athletics conforms to the
requirements set forth in the section entitled “Minimum Agreed-Upon Procedures.” In using this
approach, the independent auditor shall also conduct certain minimum agreed-upon procedures
related to the revenues and expenses of affiliated and outside organizations that are not under the
accounting control of the institution. See the “Minimum Agreed-Upon Procedures for Affiliated
and Outside Organizations” section for details. Affiliated and outside organizations (e.g., booster
clubs, affiliated foundations and alumni groups) are considered to be under the accounting control
of the institution when all activities of the organization (including revenues and expenses) are
recorded on the books and records of the institution and are subject to the internal control structure.
Alternatively, where an institution-wide agreed-upon procedure has been performed, the president
or chancellor may elect to comply with these agreed-upon procedures by engaging the
independent auditor to perform separate agreed-upon procedures as discussed in the next
paragraph.

In the event that an institution-wide independent audit has not been conducted, or the athletics
department functions as a separate legal or accounting entity (e.g., a separately incorporated
athletics foundation), a Division I or II institution would comply with the terms of this legislation
by engaging an independent accountant to perform these agreed-upon procedures on the
statement. To the extent that activities of affiliated and outside organizations are under the
accounting control of the institution, those revenues and expenses shall be included in the
statement that the independent accountant applies these agreed-upon procedures against.
Otherwise, activities of affiliated and outside organizations shall be subject to minimum agreed-
upon procedures as set forth in the section entitled “Minimum Agreed-Upon Procedures for
Affiliated and Outside Organizations.”




                                                                                              Page | 10
     Case 4:20-cv-03919-CW         Document 535-2         Filed 09/26/24      Page 94 of 134




This section describes the minimum level of procedures considered to be necessary to
achieve the objectives of this legislation.

1.     Athletics Department Statement of Revenues and Expenses
       To provide adequate information for the independent accountant to execute these agreed-
       upon procedures, the institution must prepare the statement. The statement reports the
       revenues and expenses of the intercollegiate athletics programs as recorded on the general
       ledger of the institution. Please note that expenses on behalf of an institution’s athletics
       programs by affiliated and outside organizations not under the accounting control of the
       institution shall be included in the statement and subject to the agreed-upon procedures set
       forth in the section entitled “Minimum Agreed-Upon Procedures for Affiliated and
       Outside Organizations.”

       Factors that influence the classification of revenues, expenses and major programs in the
       statement include:
        a. The internal account structure of the reporting institution’s intercollegiate athletics
            program;
        b. The institution’s usual treatment of indirect facilities and administrative support
            related to athletics, and
        c. The degree to which institutional funds or state appropriations are earmarked or
            budgeted by the institution for athletics and generally considered to be a part of
            the department’s operating revenue. More detailed discussion of revenue and
            expenditure classifications is set forth separately in Appendices A thru C.

       The institution shall prepare the statement using the basic accounting and revenue
       recognition principles set forth in the American Institute of Certified Public Accountants
       (AICPA) Audit and Accounting Guide entitled “Not-for-Profit Organizations” (the “NFP
       Audit Guide”) and in the NACUBO publication entitled “College and University Business
       Administration.” Please note that the statement presents an excess (deficiency) of
       revenues over (under) expenses but does not present any fund or net asset balances. In
       addition, changes in loan, endowment or plant funds related to intercollegiate athletics
       shall not be included in the statement. Significant additions to restricted funds related to
       intercollegiate athletics, as well as significant changes to endowment and plant funds, shall
       be disclosed separately in the notes to the statement.

       After the institution has prepared the statement, the independent accountant shall meet with
       the institution’s president or chancellor (or his or her designees) to identify areas of
       significant interest and specific agreed-upon procedures related to both internal controls
       and other specified areas.

2.     Minimum Compliance Agreed-Upon Procedures
       The institution, through discussions with the independent accountant, shall identify aspects
       of the institution’s internal control structure unique to the intercollegiate athletics
       department. Consideration should be given to departmental organization, control
       consciousness of staff, use of internal auditors in the department, competency of
       personnel, adequate safeguarding and control of records and assets, controls over

                                                                                          Page | 11
     Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24       Page 95 of 134




       interaction with the information technology department, and other relevant matters.

       The president or chancellor may include a formal assessment of internal controls over
       intercollegiate athletics programs financial processes. The independent accountant may
       test the internal control procedures unique to intercollegiate athletics and internal control
       procedures for the athletics department. In those situations where the institution’s
       independent accountant performed tests of controls in connection with the audit of the
       institution’s financial statements, the independent accountant may expand the scope of
       these tests of controls to specifically include transactions from the intercollegiate athletics
       department.

       Regardless of the situation, the independent accountant shall test specific elements of the
       control environment and accounting systems that are (1) are unique to intercollegiate
       athletics and (2) have not been addressed in connection with the audit of the
       institution’s financial statements (e.g., the system of accounting for revenues from ticket
       sales).

       Finally, the independent accountant shall perform agreed-upon procedures related to the
       institution’s procedures for gathering information on the nature and extent of affiliated
       and outside organization activity for or on behalf of the institution’s intercollegiate
       athletics program. The institution must provide the independent accountant with the
       institution’s procedures for gathering information on the nature and extent of affiliated
       and outside organization activity for on behalf of the institution’s intercollegiate
       athletics program. The independent accountants will then test those procedures. After
       completing these procedures, independent accountants shall report their findings to the
       president or chancellor in a format similar to that outlined in Appendix E.

3.     Minimum Agreed-Upon Procedures
       To identify unusual items, the NCAA has developed minimum agreed-upon procedures
       for independent accountants to use regarding the accuracy of revenues and expenses of
       intercollegiate athletics programs. For a complete listing of the minimum agreed-upon
       procedures, see the sections entitled “Minimum Agreed-Upon Procedures Program for
       Revenues” and the “Minimum Agreed-Upon Procedures Program for Expenses” in
       Appendix D to be performed by the independent accountant to comply with this
       legislation.

       The minimum agreed-upon procedures are intended to indicate the nature of the
       procedures to be performed on the institution’s financial systems and records. The
       institution and their independent accountants should conform to such procedures as
       appropriate for the institution’s systems and records, as well as to professional practice
       and reporting standards.

       Upon approval of the institution, the minimum agreed-upon procedures performed may be
       tailored by the independent accountant based upon the specific areas of significance to the
       institution. The institution should keep the objective of the minimum agreed-upon
       procedures in mind when determining the sufficiency of the procedures to be performed.

                                                                                             Page | 12
Case 4:20-cv-03919-CW        Document 535-2         Filed 09/26/24      Page 96 of 134




  The institution’s president or chancellor may engage the independent accountant to
  perform supplemental agreed-upon procedures. The independent accountant shall
  document the scope of the supplemental agreed-upon procedures requested by the president
  or chancellor in an engagement letter signed in advance by the institution’s president or
  chancellor. The institution, together with the independent accountant, shall determine the
  extent of the supplemental agreed-upon procedures to be performed.

       a. Institutional Representations
         In an engagement to apply agreed-upon procedures to certain financial and other
         information of the institution, the independent accountant shall obtain written
         representations from the institution’s management. These representations may be
         tailored to cover specific assertions and matters unique to the intercollegiate
         athletics department (e.g., completeness of the schedule of intercollegiate athletics
         activities, institutional compliance with NCAA legislation and a listing of all
         known affiliated and outside organizations reported to the independent
         accountant).

       b. Report on Agreed-Upon Procedures
           i. Application of Agreed-Upon Procedures
               The independent accountants’ report on agreed-upon procedures applied to
               the institution should be in the form of procedures and findings. Among
               other things, the report should have a title that includes the word
               “independent” and identify the specified parties, the subject matter, and the
               procedures performed (and findings). See Appendix E for a listing of the
               required elements for a report on agreed-upon procedures. Examples of
               reports concerning agreed-upon procedures applied to institution’s
               statement and affiliated and outside organizations’ records are included as
               Appendix E.

           ii. Presentation of the Statement of Revenues and Expenses
                The basis of presentation of the statement will vary among institutions. As
                a result, the institution’s statement may be presented in conformity with
                accounting principles generally accepted in the United States of America
                (GAAP) or with a comprehensive basis of accounting other than GAAP.

           iii. Notes and Disclosures
                 (a) Each individual contribution of moneys, goods or services received
                     directly by an intercollegiate athletics program from any affiliated or
                     outside supporting organization, agency or individuals (e.g.,
                     contributions by corporate sponsors) that constitutes 10 percent or
                     more of all contributions received for intercollegiate athletics during
                     the reporting period shall be disclosed in the notes to the statement of
                     athletics department revenues and expenses (the “statement”) and
                     included in the agreed-upon procedures report. Disclosure of the
                     source of funds, goods and services, as well as the value associated

                                                                                     Page | 13
Case 4:20-cv-03919-CW     Document 535-2         Filed 09/26/24      Page 97 of 134




                 these items, shall also be made within the notes to the statement. In
                 addition, as part of the minimum agreed-upon procedures, the
                 independent accountant shall obtain and review documentation for
                 each such contribution.

              (b) A description of the institution’s policies and procedures for acquiring,
                  approving, depreciating, and disposing of intercollegiate athletics-
                  related assets, shall be included in the notes to the statement.

              (c) The independent accountant shall also obtain repayment schedules for
                  all outstanding intercollegiate athletics debt maintained by the
                  institution during the reporting period. At a minimum, the independent
                  accountant shall recalculate annual maturities (consisting of principal
                  and interest) provided in the schedules obtained. The independent
                  accountant shall then agree the total annual maturities to
                  documentation and the institution’s general ledger, as applicable. The
                  repayment schedule(s) shall be included in the notes to the statement.




                                                                                  Page | 14
     Case 4:20-cv-03919-CW          Document 535-2        Filed 09/26/24      Page 98 of 134




MINIMUM AGREED-UPON PROCEDURES FOR AFFILIATED AND
OUTSIDE ORGANIZATIONS
Following are minimum agreed-upon procedures that independent accountants and institutions
shall use in applying agreed-upon procedures related to expenses for or on behalf of intercollegiate
athletics programs by affiliated and outside organizations not under the institution’s accounting
control. The results of these procedures may be reported and included within the agreed-upon
procedures report on the institution. See Appendix E.

1.     The institution shall identify all intercollegiate athletics-related affiliated and outside
       organizations and obtain those organizations’ statements for the reporting period. Once
       the institution has made these statements available, the independent accountant shall agree
       the amounts reported in the statement to the organization’s general ledger or, alternatively,
       confirm revenues and expenses directly with a responsible official of the organization.
       In addition, the institution shall prepare a summary of revenues and expenses for or on
       behalf of intercollegiate athletics programs affiliated and outside organizations to be
       included with the agreed-upon procedures report.

2.     The independent accountant shall obtain and review the audited financial statements of
       the organization and any additional reports regarding internal control matters if the
       organization is audited independent of the agreed-upon procedures required by NCAA
       legislation. The institution’s independent accountant shall also inquire of institutional and
       organizational management as to corrective action taken in response to comments
       concerning internal control structure (if any).

       The institution may tailor these procedures based upon the areas of significance to the
       institution. The institution should keep the objective of the agreed-upon procedures in
       mind when determining the sufficiency of the procedures to be performed.

       a.      Supplemental Procedures for Affiliated and Outside Organizations

               (1)     Compare and agree a sample of operating revenue categories reported in
                       the organization’s statement during the reporting period to supporting
                       schedules provided by the organization;

               (2)     Compare and agree a sample of operating revenue receipts obtained from
                       the above operating revenue schedule to adequate supporting
                       documentation;

               (3)     Compare and agree each operating expense category reported in the
                       organization’s statement during the reporting period to supporting
                       schedules provided by the organization;

               (4)     Compare and agree a sample of operating expenses obtained from the
                       above operating expense supporting schedules to adequate supporting
                       documentation;
                                                                                           Page | 15
Case 4:20-cv-03919-CW     Document 535-2        Filed 09/26/24      Page 99 of 134




        (5)   Directly confirm cash balances recorded at the end of the reporting period
              by the organization and review the related year-end bank reconciliation(s);

        (6)   Obtain and inspect minutes of the organizations’ governing bodies during
              the reporting period;

        (7)   Select a sample of financial transactions discussed in the minutes and
              compare and agree each selection to the organizations’ accounting records,
              as applicable, and

        (8)   Obtain documentation of the internal controls in place surrounding
              revenues and expenses related to the organization.




                                                                                Page | 16
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 100 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 101 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 102 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 103 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 104 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 105 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 106 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 107 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 108 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 109 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 110 of 134
   Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 111 of 134




APPENDIX D | Minimum NCAA Agreed-Upon Procedures for Revenue,
Expenses and Other Reporting Items
MINIMUM AGREED-UPON PROCEDURES PROGRAM FOR REVENUES
Following is a complete listing of the minimum agreed-upon procedures for revenues, by
category, to be performed to the statement by the independent accountant.

Before the commencement of fieldwork, the independent accountant should ensure that the
amounts reported on the statement agree to the institution's general ledger. For all revenue
categories perform the minimum agreed-upon procedures set forth below.

   •   Compare and agree each operating revenue category reported in the statement during the
       reporting period to supporting schedules provided by the institution. If a specific reporting
       category is less than 4.0% of the total revenues, no procedures are required for that specific
       category.

   •   Compare and agree a sample of operating revenue receipts obtained from the above
       operating revenue supporting schedules to adequate supporting documentation.

   •   Compare each major revenue account over 10% of the total revenues to prior period
       amounts and budget estimates. Obtain and document an explanation of any variations
       greater than 10%. Report the analysis as a supplement to the final Agreed-Upon procedures
       report.

   1. Ticket Sales

       a. Compare tickets sold during the reporting period, complimentary tickets provided
          during the reporting period and unsold tickets to the related revenue reported by the
          Institution in the statement and the related attendance figures and recalculate totals.

   2. Direct State or Other Governmental Support

       a. Compare direct state or other governmental support recorded by the institution during
          the reporting period with state appropriations, institutional authorizations and/or other
          corroborative supporting documentation and recalculate totals.

   3. Student Fees

       a. Compare and agree student fees reported by the institution in the statement for the
          reporting period to student enrollments during the same reporting period and
          recalculate totals.

       b. Obtain documentation of institution’s methodology for allocating student fees to
          intercollegiate athletics programs.

       c. If the athletics department is reporting that an allocation of student fees should be


                                                                                           Page | 28
Case 4:20-cv-03919-CW         Document 535-2        Filed 09/26/24      Page 112 of 134




      countable as generated revenue, recalculate the totals of their methodology for
      supporting that they are able to count each sport. Tie the calculation to supporting
      documents such as seat manifests, ticket sales reports and student fee totals.


4. Direct Institutional Support

   a. Compare the direct institutional support recorded by the institution during the reporting
      period with the institutional supporting budget transfers documentation and other
      corroborative supporting documentation and recalculate totals.

5. Less – Transfers to Institution

   a. Compare the transfers back to institution with permanent transfers back to institution
      from the athletics department and recalculate totals.

6. Indirect Institutional Support (6 and 6A)

   a. Compare the indirect institutional support recorded by the institution during the
      reporting period with expense payments, cost allocation detail and other corroborative
      supporting documentation and recalculate totals.

7. Guarantees

   a. Select a sample of settlement reports for away games during the reporting period and
      agree each selection to the institution's general ledger and/or the statement and
      recalculate totals.

   b. Select a sample of contractual agreements pertaining to revenues derived from
      guaranteed contests during the reporting period and compare and agree each selection
      to the institution's general ledger and/or the statement and recalculate totals.

8. Contributions

   a. Any contributions of moneys, goods or services received directly by an intercollegiate
      athletics program from any affiliated or outside organization, agency or group of
      individuals (two or more) not included above (e.g., contributions by corporate
      sponsors) that constitutes 10 percent or more in aggregate for the reporting year of all
      contributions received for intercollegiate athletics during the reporting periods shall
      obtain and review supporting documentation for each contribution and recalculate
      totals.

9. In-Kind

   a. Compare the in-kind recorded by the institution during the reporting period with a
      schedule of in-kind donations and recalculate totals.


                                                                                     Page | 29
Case 4:20-cv-03919-CW         Document 535-2         Filed 09/26/24      Page 113 of 134




10. Compensation and Benefits Provided by a Third-Party

    a. Obtain the summary of revenues from affiliated and outside organizations (the
       "Summary") as of the end of the reporting period from the institution and select a
       sample of funds from the Summary and compare and agree each selection to
       supporting documentation, the institution's general ledger and/or the Summary and
       recalculate totals.

11. Media Rights

    a. Obtain and inspect agreements to understand the institution's total media (broadcast,
       television, radio) rights received by the institution or through their conference offices
       as reported in the statement.

    b. Compare and agree the media rights revenues to a summary statement of all media
       rights identified, if applicable, and the institution's general ledger and recalculate
       totals. Ledger totals may be different for total conference distributions if media rights
       are not broken out separately.

12. NCAA Distributions

    a. Compare the amounts recorded in the revenue and expense categories reporting to
       general ledger detail for NCAA distributions and other corroborative supporting
       documents and recalculate totals.

13. Conference Distributions and Conference Distributions of Football Bowl
    Generated Revenue (13 and 13A)

    a. Obtain and inspect agreements related to the institution's conference distributions and
       participation in revenues from tournaments during the reporting period for relevant
       terms and conditions.

    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.

14. Program Sales, Concessions, Novelty Sales, and Parking

    a. Compare the amount recorded in the revenue reporting category to a general ledger
       detail of program sales, concessions, novelty sales and parking as well as any other
       corroborative supporting documents and recalculate totals.

15. Royalties, Licensing, Advertisements and Sponsorships

    a. Obtain and inspect agreements related to the institution's participation in revenues
       from royalties, licensing, advertisements, and sponsorships during the reporting
       period for relevant terms and conditions.


                                                                                      Page | 30
Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24      Page 114 of 134




    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.

16. Sports Camp Revenues

    a. Inspect sports camp contract(s) between the institution and person(s) conducting
       institutional sports-camps or clinics during the reporting period to obtain
       documentation of the institution's methodology for recording revenues from sports­
       camps.

    b. Obtain schedules of camp participants and select a sample of individual camp
       participant cash receipts from the schedule of sports­ camp participants and agree each
       selection to the institution's general ledger, and/or the statement and recalculate totals.

17. Athletics Restricted Endowment and Investment Income

    a. Obtain and inspect endowment agreements, if any, for relevant terms and conditions.

    b. Compare and agree the classification and use of endowment and investment income
       reported in the statement during the reporting period to the uses of income defined
       within the related endowment agreement and recalculate totals.

18. Other Operating Revenue

    a. Perform minimum agreed-upon procedures referenced for all revenue categories and
       recalculate totals.

19. Football Bowl Revenues

    a. Obtain and inspect agreements related to the institution's revenues from post-season
       football bowl participation during the reporting period to gain an understanding of the
       relevant terms and conditions.

    b. Compare and agree the related revenues to the institution's general ledger, and/or the
       statement and recalculate totals.




                                                                                        Page | 31
   Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 115 of 134



MINIMUM AGREED-UPON PROCEDURES PROGRAM FOR EXPENSES

Following is a complete listing of the minimum agreed-upon procedures for expenses, by
category, to be performed to the statement by the independent accountant. Before the
commencement of fieldwork, the independent accountant should ensure that the amounts
reported on the statement agree to the institution's general ledger.

   •   Compare and agree each expense category reported in the statement during the reporting
       period to supporting schedules provided by the institution. If a specific reporting
       category is less than 4.0% of the total expenses, no procedures are required for that
       specific category.

   •   Compare and agree a sample of expenses obtained from the above operating expense
       supporting schedules to adequate supporting documentation.

   •   Compare each major expense account over 10% of the total expenses to prior period
       amounts and budget estimates. Obtain and document an explanation of any variations
       greater than 10%. Report the analysis as a supplement to the final Agreed-Upon
       procedures report.
   20. Athletic Student Aid

       a. Using the criteria below select a sample of student-athletes receiving athletic aid during
          the reporting period. Data should be captured by the institution through the creation of
          a squad/eligibility list for each sport sponsored.

            •   If using the NCAA's Compliance Assistant (CA) application, select 10% of the
                total student-athletes with a maximum sample size of 40.

            •   If using a compliance application other than the NCAA’s CA application, select
                20% of total student-athletes with a maximum sample size of 60).

          Note: The Division I revenue distribution equivalencies (athletic grant amount divided
          by the full grant amount) should only include tuition, fees, living expenses and required
          course-related books, per Bylaw 20.02.10. Cost of Attendance or Other Expenses
          Related to Attendance are not countable for revenue distribution purposes.
          Note: The Calculation of Revenue Distribution Equivalencies Report (CRDE) within
          Compliance Assistant should provide equivalencies that do not contain Cost of
          Attendance or Other Expenses Related to Attendance.

       b. Obtain individual student-athlete account detail for each selection. Reconcile the total
          athletic aid reported by the institution to the student-athlete's account detail reported in
          CA or the institution report that reconciles to the NCAA Membership Financial
          Reporting System.

       c. Division I Institutions Only: Perform a check of each student selected to ensure their
          information was reported accurately in either the NCAA's CA software or entered


                                                                                            Page | 32
Case 4:20-cv-03919-CW        Document 535-2        Filed 09/26/24      Page 116 of 134




     directly into the NCAA Membership Financial Reporting System using the following
     criteria:

     •   Grants-in-aid is calculated by using the revenue distribution equivalencies,
         athletic grant amount divided by the full grant amount.

     •   Other expenses related to attendance (also known as cost of attendance) should
         not be included in grants-in-aid revenue distribution equivalencies. Only tuition,
         fees, living expenses, and course-related books are countable for grants-in-aid
         revenue distribution per Bylaw 20.02.10.
         Note: For compliance purposes equivalencies may include other expenses related
         to attendance per Bylaw 15.02.2. However, other expenses related to attendance
         are not allowed to be included for revenue distribution equivalencies. If using the
         NCAA CA application, the Calculation of Revenue Distribution Equivalencies
         Report (CRDE) should provide equivalencies that do not include other expenses
         related to attendance.

     •   Full grant amount should be entered as a full year of tuition, not a semester or
         quarter.

     •   Student-athletes are to be counted once, regardless of multiple sport participation,
         and should not receive a revenue distribution equivalency greater than 1.00.

     •   Athletics grants are valid for revenue distribution purposes only in sports in which
         the NCAA conducts championships competition, emerging sports for women and
         football bowl subdivision football.

     •   Grants-in-aid are valid for revenue distribution purposes in NCAA sports that do
         not meet the minimum contests and participants’ requirements of Bylaw
         20.10.6.3.

     •   Institutions providing grants to student-athletes listed on the CRDE as “Exhausted
         Eligibility (fifth year)” or “Medical” receive credit in the grants-in-aid
         component.

     •   The athletics aid equivalency cannot exceed maximum equivalency limits.
         However, the total revenue distribution equivalency can exceed maximum
         equivalency limits due to exhausted eligibility and medical equivalencies, Bylaw
         15.5.3.1.
         Note: The NCAA Membership Financial Reporting System’s Revenue
         Distribution data entry webpage will automatically reduce the Total Revenue
         Distribution Equivalencies Awarded column to adhere to Bylaw 15.5.3.1.

     •   If a sport is discontinued and athletic aid is still being awarded/honored by the
         institution, the athletic aid is countable for revenue distribution purposes.
         Note: The discontinued sport will need to be added to the NCAA


                                                                                     Page | 33
Case 4:20-cv-03919-CW         Document 535-2           Filed 09/26/24    Page 117 of 134




          Membership Financial Reporting System’s Revenue Distribution data entry
          Webpage.

      •   All equivalency calculations should be rounded to two decimal places.

      •   If a selected student received a Pell Grant, ensure the value of the grant is not
          included in the calculation of equivalencies or the total dollar amount of student
          athletic aid expense for the institution.

      •   If a selected student received a Pell Grant, ensure the student’s grant was included
          in the total number and total dollar value of Pell Grants reported for Revenue
          Distribution purposes in the NCAA Membership Financial Reporting System.

   d. Recalculate totals for each sport and overall.

21. Guarantees

    a. Obtain and inspect visiting institution's away-game settlement reports received by the
       institution during the reporting period and agree related expenses to the institution's
       general ledger and/or the statement and recalculate totals.

    b. Obtain and inspect contractual agreements pertaining to expenses recorded by the
       institution from guaranteed contests during the reporting period. Compare and agree
       related amounts expensed by the institution during the reporting period to the
       institution's general ledger and/or the statement and recalculate totals.

22. Coaching Salaries, Benefits, and Bonuses Paid by the University and Related
    Entities

    a. Obtain and inspect a listing of coaches employed by the institution and related entities
       during the reporting period. Select a sample of coaches' contracts that must include
       football, and men's and women's basketball from the listing.

    b. Compare and agree the financial terms and conditions of each selection to the related
       coaching salaries, benefits, and bonuses recorded by the institution and related entities
       in the statement during the reporting period.

    c. Obtain and inspect payroll summary registers for the reporting year for each selection.
       Compare and agree payroll summary registers from the reporting period to the related
       coaching salaries, benefits and bonuses paid by the institution and related entities
       expense recorded by the institution in the statement during the reporting period.

    d. Compare and agree the totals recorded to any employment contracts executed for the
       sample selected and recalculate totals.




                                                                                      Page | 34
Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24      Page 118 of 134




23. Coaching Salaries, Benefits, and Bonuses Paid by a Third-Party

    a. Obtain and inspect a listing of coaches employed by third parties during the reporting
       period. Select a sample of coaches' contracts that must include football, and men's
       and women's basketball from the listing.

    b. Compare and agree the financial terms and conditions of each selection to the related
       coaching other compensation and benefits paid by a third party and recorded by the
       institution in the statement during the reporting period.

    c. Obtain and inspect reporting period payroll summary registers for each selection.
       Compare and agree related payroll summary register to the coaching other
       compensation and benefits paid by a third-party recorded by the institution in the
       statement during the reporting period and recalculate totals.

24. Support Staff/Administrative Compensation, Benefits, and Bonuses Paid by the
    University and Related Entities

    a. Select a sample of support staff/administrative personnel employed by the institution
       and related entities during the reporting period.

    b. Obtain and inspect reporting period summary payroll register for each selection.
       Compare and agree related summary payroll register to the related support staff
       administrative salaries, benefits and bonuses paid by the institution and related entities
       expense recorded by the institution in the statement during the reporting period and
       recalculate totals.

25. Support Staff/Administrative Compensation, Benefits, and Bonuses Paid by a Third-
    Party

    c. Select a sample of support staff/administrative personnel employed by the third parties
       during the reporting period.

    d. Obtain and inspect reporting period payroll summary registers for each selection.
       Compare and agree related payroll summary registers to the related support staff
       administrative other compensation and benefits expense recorded by the institution in
       the statement during the reporting period and recalculate totals.

26. Severance Payments

    a. Select a sample of employees receiving severance payments by the institution during
       the reporting period and agree each severance payment to the related termination letter
       or employment contract and recalculate totals.




                                                                                       Page | 35
Case 4:20-cv-03919-CW         Document 535-2        Filed 09/26/24       Page 119 of 134




27. Recruiting

    a. Obtain documentation of the Institution's recruiting expense policies.

    b. Compare and agree to existing institutional- and NCAA-related policies.

    c. Obtain general ledger detail and compare to the total expenses reported and recalculate
       totals.

28. Team Travel

    a. Obtain documentation of the Institution's team travel policies.

    b. Compare and agree to existing institutional- and NCAA-related policies.

    c. Obtain general ledger detail and compare to the total expenses reported and recalculate
       totals.

29. Sports Equipment, Uniforms, and Supplies

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

30. Game Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

31. Fund Raising, Marketing and Promotion

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

32. Sports Camp Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

33. Spirit Groups

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording


                                                                                    Page | 36
Case 4:20-cv-03919-CW             Document 535-2    Filed 09/26/24      Page 120 of 134




        and recalculate totals.

34. Athletic Facilities Debt Service, Leases and Rental Fees

    a. Obtain a listing of debt service schedules, lease payments and rental fees for athletics
       facilities for the reporting year. Compare a sample of facility payments including the
       top two highest facility payments to additional supporting documentation (e.g., debt
       financing agreements, leases, rental agreements).

    b. Compare amounts recorded to amounts listed in the general ledger detail and
       recalculate totals.

35. Direct Overhead and Administrative Expenses

    a. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.

36. Indirect Institutional Support

   a. Tested with revenue section- Indirect Institutional Support.

37. Medical Expenses and Insurance

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

38. Memberships and Dues

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

39. Student-Athlete Meals (non-travel)

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.

40. Other Operating Expenses

   a. Obtain general ledger detail and compare to the total expenses reported. Select a
      sample of transactions to validate existence of transaction and accuracy of recording
      and recalculate totals.



                                                                                     Page | 37
   Case 4:20-cv-03919-CW           Document 535-2         Filed 09/26/24      Page 121 of 134




   41. Football Bowl Expenses (41 and 41A)

       a. Obtain general ledger detail and compare to the total expenses reported. Select a
          sample of transactions to validate existence of transaction and accuracy of recording
          and recalculate totals.

ADDITIONAL MINIMUM AGREED-UPON PROCEDURES

In order for the NCAA to place reliance on the Division I financial reporting to calculate the
Division I NCAA revenue distributions, which is a financial benefit to the institution, the following
procedure are required:

   1. Grants-in-Aid:
         a. Compare and agree the sports sponsored reported in the NCAA Membership
            Financial Reporting System to the Calculation of Revenue Distribution
            Equivalencies Report (CRDE) from Compliance Assistant (CA) or other report that
            supports the equivalency calculations from the institution.          The NCAA
            Membership Financial Reporting System populates the sports from the NCAA
            Sports Sponsorship and Demographics Form as they are reported by the institution
            between April and June. If there is a discrepancy in the sports sponsored between
            the NCAA Membership Financial Reporting System and the CRDE or other report
            that supports the equivalency calculations, inquire about the discrepancy, and
            report the justification in the AUP report.

           b. Compare current year Grants-in-Aid revenue distribution equivalencies to prior
              year reported equivalencies per the Membership Financial Report submission.
              Inquire and document an explanation for any variance great than +/- 4%. The
              submitted data is reviewed by NCAA staff. Providing a detailed variance
              explanation will assist with the review process.

   2. Sports Sponsorship:
         a. Obtain the institution’s Sports Sponsorship and Demographics Form submitted to
             NCAA Research for the reporting year. Validate that the countable NCAA sports
             reported by the institution met the minimum requirements, set forth in Bylaw
             20.10.6.3, related to the number of contests and the number of participants. If the
             institution requested and/or received a waiver related to minimum contests or
             minimum participants for a sport, that sport would not qualify as a sponsored sport
             for the purposes of revenue distribution. Also, only sports in which the NCAA
             conducts championships competition, emerging sports for women and bowl
             subdivision football are eligible. Once the countable sports have been validated,
             ensure that the institution has properly reported these sports as countable for
             revenue distribution purposes within the NCAA Membership Financial Reporting
             System. Any discrepancies MUST be resolved within the NCAA Membership
             Financial Reporting System prior to the report being submitted to the NCAA.

           b. Compare current year number of Sports Sponsored to prior year reported total per


                                                                                           Page | 38
   Case 4:20-cv-03919-CW         Document 535-2        Filed 09/26/24      Page 122 of 134




              the Membership Financial Report submission. Inquire and document an
              explanation for any variance. The submitted data is reviewed by NCAA staff.
              Providing a detailed variance explanation will assist with the review process.

   3. Pell Grants:
           a. Agree the total number of Division I student-athletes who, during the academic
              year, received a Pell Grant award (e.g. Pell Grant recipients on Full Athletic Aid,
              Pell Grant recipients on Partial Athletic Aid and Pell Grant recipients with no
              Athletic Aid) and the total dollar amount of these Pell Grants reported in the
              NCAA Membership Financial Reporting System to a report generated out of the
              institutions financial aid records of all student-athlete Pell Grants.
                 • Note 1: Only Pell Grants for sports in which the NCAA conducts
                     championships competition, emerging sports for women and bowl
                     subdivision football are countable.
                 • Note 2: Student-athletes should only be counted once even if the athlete
                     participates in multiple sports.
                 • Note 3: Individual student-aid file testing in step 31 above should tie any
                     selected student athletes who received Pell Grants back to the report of all
                     student athlete Pell Grants to test the completeness and accuracy of the
                     report.
           b. Compare current year Pell Grants total to prior year reported total per the
              Membership Financial Report submission. Inquire and document an explanation
              for any variance greater than +/- 20 grants. The submitted data is reviewed by
              NCAA staff. Providing a detailed variance explanation will assist with the review
              process.


MINIMUM    AGREED-UPON                PROCEDURES            PROGRAM           FOR      OTHER
REPORTING ITEMS

Following is a complete listing of the minimum agreed-upon procedures for other reporting items,
by category, to be performed to the statement by the independent accountant. Before the
commencement of fieldwork, the independent accountant should ensure that the amounts reported
on the statement agree to the institution's general ledger.

   50. Excess Transfers to Institution

        a. Obtain general ledger detail and compare to the total expenses reported. Select a
           sample of transactions to validate existence of transaction and accuracy of recording
           and recalculate totals.

   51. Conference Realignment Expenses

        a. Obtain general ledger detail and compare to the total expenses reported. Select a
           sample of transactions to validate existence of transaction and accuracy of recording
           and recalculate totals.


                                                                                        Page | 39
Case 4:20-cv-03919-CW         Document 535-2         Filed 09/26/24      Page 123 of 134




52. Total Athletics Related Debt

    a. Obtain repayment schedules for all outstanding intercollegiate athletics debt during
       the reporting period. Recalculate annual maturities (consisting of principal and
       interest) provided in the schedules obtained.

    b. Agree the total annual maturities and total outstanding athletic related debt to
       supporting documentation and the institution’s general ledger, as applicable.
53. Total Institutional Debt

    a. Agree the total outstanding institutional debt to supporting documentation and the
       institution’s audited financial statements, if available, or the institution’s general
       ledger.

54. Value of Athletics Dedicated Endowments

    a. Obtain a schedule of all athletics dedicated endowments maintained by athletics, the
       institution, and affiliated organizations. Agree the fair market value in the schedule(s)
       to supporting documentation, the general ledger(s) and audited financial statements,
       if available.

55. Value of Institutional Endowments

    a. Agree the total fair market value of institutional endowments to supporting
       documentation, the institution’s general ledger and/or audited financial statements, if
       available.

56. Total Athletics Related Capital Expenditures

    a. Obtain a schedule of athletics related capital expenditures made by athletics, the
       institution, and affiliated organizations during the reporting period, additions only.

    b. Obtain general ledger detail and compare to the total expenses reported. Select a
       sample of transactions to validate existence of transaction and accuracy of recording
       and recalculate totals.




                                                                                      Page | 40
      Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24      Page 124 of 134




APPENDIX E | Independent Accountant’s Report on Agreed-Upon
Procedures
The independent accountant’s report on agreed-upon procedures should be in the form of
procedures and findings. The report should contain the following elements:

1.       A title that includes the word “independent”;

2.       Identification of the specified parties;

3.       Identification of the subject matter (or the written assertion related thereto), including the
         period and point in time addressed and a reference to the character of the engagement;

4.       Identification of the responsible party;

5.       A statement that the subject matter is the responsibility of the responsible party;

6.       A statement that the procedures performed was those agreed to by the specified parties
         identified in the report;

7.       For compliance-attestation engagements, a statement that the procedures, which were
         agreed to by the specified parties identified in the report, were performed to assist the
         specified parties in evaluating the entity’s compliance with specified requirements or the
         effectiveness of its internal control over compliance;

8.       A statement that the agreed-upon procedures engagement was conducted in accordance
         with attestation standards established by the American Institute of Certified Public
         Accountants;

9.       A statement that the sufficiency of the procedures is solely the responsibility of the
         specified parties and a disclaimer of responsibility for the sufficiency of those procedures;

10.      A list of the procedures performed (or reference thereto) and related findings;

11.      Where applicable, a description of any agreed-upon materiality limits;

12.      A statement that the practitioner was not engaged to and did not conduct an examination
         of the subject matter, the objective of which would be the expression of an opinion, a
         disclaimer of opinion on the subject matter, and a statement that if the practitioner had
         performed additional procedures, other matters might have come to the practitioner’s
         attention that would have been reported;

13.      A statement of restrictions on the use of the report because it is intended to be used solely
         by the specified parties;

14.      Where applicable, reservations or restrictions concerning procedures or findings;


                                                                                               Page | 41
      Case 4:20-cv-03919-CW         Document 535-2         Filed 09/26/24     Page 125 of 134




15.      Where applicable, a description of the nature of the assistance provided by a specialist;

16.      The manual or printed signature of the practitioner’s firm and

17.      The date of the report.




                                                                                            Page | 42
     Case 4:20-cv-03919-CW          Document 535-2         Filed 09/26/24      Page 126 of 134




APPENDIX F | Common Questions and Answers
Q:      Can an internal auditor of one member institution conduct the required independent audit
        for another member institution in the same state system?

A:      Yes, provided the individual is an independent certified auditor and is not a staff member
        of that institution.


Q:      Can a member institution seek an extension of the deadline for completion of the annual
        agreed-upon procedures?

A:      No. NCAA legislation does not contain a provision under which the deadline may
        be extended or waived.


Q:      Are agreed-upon procedures performed by the internal audit division of a state system
        of higher education considered independent?

A:      Yes, since individuals who perform the work are employees of the state system reporting
        to the system’s director of internal audits, provided the internal audit division performs the
        minimum agreed-upon procedures in a manner consistent with NCAA agreed-upon
        procedures for each institution.


Q:      How does a Division II institution satisfy the agreed-upon procedures requirement if the
        institution sponsors a sport(s) at the Division I level?

A:      The NCAA Interpretations Committee determined during its June 30, 1993, conference
        call that a Division II member institution that sponsors a Division I sport(s) shall not be
        subject to agreed-upon procedures (Based on Division II legislative action August 2004)
        for the Division I sport(s). This interpretation supersedes the previous legislative staff
        interpretation of January 15, 1992.


Q:      Does an independent group or organization that does not constitute a booster organization
        by name only (e.g., alumni association, foundation) need to have its athletically related
        financial activities included in the institution’s financial audit (i.e., tested by the auditor
        and reported to the institutional auditor)?

A:      Any agency or group of individuals (two or more) that has as its principal purpose the
        generation of moneys, goods, or services for or on behalf of an intercollegiate athletics
        program should be included in the annual agreed-upon procedures.




                                                                                             Page | 43
     Case 4:20-cv-03919-CW         Document 535-2        Filed 09/26/24      Page 127 of 134




Q:      Once affiliated and outside organizations (e.g., independent groups, affiliated
        foundations), such as those that do not fall under the purview of direct institutional
        oversight, are identified, how is their financial data to be included in the agreed-upon
        procedures?

A:      Either the organization’s statements of revenues and expenses should be procured or,
        if audited independently of the institution, agreed-upon procedures and any reports to
        management related to the internal control structure need to be obtained and reviewed.
        Also, a schedule of expenses by the affiliated and/or outside organization for or on behalf
        of the institution’s athletics program should be obtained and reconciled with the revenues
        recorded in the athletics program’s accounting records.


Q:      What are the criteria used in compiling the total dollars generated for or on behalf of an
        athletics program?

A:      An institution must disclose in a footnote to the statement of athletics department revenues
        and expenses contributions from any outside source (not included as an agency,
        organization or group as indicated in the NCAA agreed-upon procedures in the section
        entitled “organization of intercollegiate athletics programs”) that constitutes more than 10
        percent of all contributions received (e.g., contributions by corporate sponsors). The
        source from which such funds are received also shall be disclosed in a footnote to the
        statement of revenues and expenses.


Q:      For an institution with a fiscal year-end which would preclude a timely report, how can an
        exception be granted to report on the most recent fiscal year that is completed?

A:      The institution should contact the NCAA Administrative Services group for guidance.


For a complete list of Common Questions and Answers, please reference the FAQ document
located on the NCAA Membership Financial Reporting System webpage within ncaa.org.




                                                                                          Page | 44
   Case 4:20-cv-03919-CW         Document 535-2       Filed 09/26/24    Page 128 of 134




APPENDIX G | NCAA Online Financial Reporting Links
Helpful links and resources located on the Membership Financial Reporting System website:
   • Logon to the NCAA Financial Reporting System (FRS).
   • FY2024 Agreed-Upon Procedures.
   • FRS Help Video.
   • NCAA AUP and FRS FAQs.
   • FY2024 FRS Supplemental Tool.
   • List of key dates for FY2024 reporting.
   • List of key resources and contacts.
   • Single Source Sign-On (NCAA My Apps) Quick Start Guide and Users Guide.

If you need assistance in accessing the NCAA Membership Financial Reporting System,
please contact your on-campus Single Source Sign-on (NCAA My Apps) administrator.




                                                                                    Page | 45
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 129 of 134




                    APPENDIX B – ROSTER LIMITS
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 130 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 131 of 134
Case 4:20-cv-03919-CW   Document 535-2   Filed 09/26/24   Page 132 of 134
   Case 4:20-cv-03919-CW            Document 535-2        Filed 09/26/24       Page 133 of 134




any change in roster limits shall not result in a reduction in the number of athletic scholarships

permissible under the current NCAA Division I rules in any sport.

       Section 4. Effect on Non-NCAA-sponsored Sports. Nothing in this Appendix B should

be read to limit, in any way, the right of individual Member Institutions (subject to conference

rules) or individual conferences from unilaterally increasing or decreasing the roster sizes of sports

not identified in Section 1 or added during the Term in accordance with Section 2.
   Case 4:20-cv-03919-CW           Document 535-2        Filed 09/26/24   Page 134 of 134




                                           ARTICLE 2

                                      MISCELLANEOUS

       Section 1. Defined Terms. All capitalized terms in this Appendix B shall have the same

definition as set forth in the Stipulation and Settlement Agreement and/or Injunctive Relief

Settlement, as appropriate, if not otherwise defined herein.

       Section 2. Conflicts.     The provisions of this Appendix supersede any conflicting

provisions in any rule or policy, or any other document, adopted by Defendants or any of their

Member Institutions, affecting the matters addressed herein. Any conflict between this Appendix

B and the SSA and/or the Injunctive Relief Settlement (“IRS”) shall be resolved in favor of the

SSA and/or IRS, as applicable.
